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                                 2024-1158


UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT


     HABAS SINAI VE TIBBI GAZLAR ISTIHSAL ENDUSTRISI A.S.,
                                                             Plaintiff-Appellant,
                                      v.

 UNITED STATES, CLEVELAND-CLIFFS INC., STEEL DYNAMICS, INC.,
                         SSAB ENTERPRISES LLC,
                                                          Defendants-Appellees.



          Appeal from The United States Court of International Trade
               in Court No. 21-00527, Judge M. Miller Baker




                   OPENING BRIEF OF
PLAINTIFF-APPELLANT HABAS SINAI VE TIBBI GAZLAR ISTIHSAL
                    ENDUSTRISI A.S.


                                      Jessica R. DiPietro
                                      Leah N. Scarpelli
                                      Matthew M. Nolan
                                      ArentFox Schiff LLP
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                                      Washington, DC 20006
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January 16, 2024                       Habaş Sinai ve Tibbi Gazlar Istihsal
                                       Endüstrisi A.Ş.
               Case: 24-1158            Document: 18    Page: 2   Filed: 01/16/2024



FORM
FORM 9.
     9. Certificate
        Certificate of
                    of Interest
                       Interest                                                         Form 9
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                                                                                         March
                                                                                         March 2023
                                                                                                2023

                     UNITED STATES COURT
                     UNITED STATES       OF APPEALS
                                   COURT OF APPEALS
                        FOR
                        FOR THE
                             THE FEDERAL
                                 FEDERAL CIRCUIT
                                         CIRCUIT

                                  CERTIFICATE OF INTEREST
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            Case
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                 Number 2024-1158
                        2024-1158
   Short Case
   Short Case Caption
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                            Sinai ye Tibbi Gazlar
                                           Gazlar Istihsal
                                                  Istihsal Endustrisi v. US
                                                           Endustrisi v. US
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   Filing Party/Entity
          Party/Entity Habas Sinai ye
                       Habas Sinai ve Tibbi
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                                                Signature:    /s/ Jessica R.
                                                              /s/ Jessica    DiPietro
                                                                          R. DiPietro

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                                                Name:         Jessica R.
                                                              Jessica    DiPietro
                                                                      R. DiPietro
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Diana Dimitriuc-Quaia

Nancy Aileen Noonan
Nancy Aileen Noonan

John A.
John A. Gurtunca
        Gurtunca
(terminated
(terminated 07/12/2022)
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 5. Related   Cases. Other
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 6. Organizational Victims
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Certain Hot-Rolled Steel Flat Products From the Republic of Turkey,
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Certain Hot-Rolled Steel Flat Products From Republic of Turkey, 84
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I.      STATEMENT OF RELATED CASES (RULE 47.5(a) AND 47.5(b))

        Pursuant to Federal Circuit Rule 47.5, counsel for Habaş Sinai ve Tibbi

Gazlar Istihsal Endüstrisi A.Ş. (“Habaş”) makes the following statements. First,

counsel is unaware of any other appeal in or from the same civil action in the U.S.

Court of International Trade (“CIT”) that was previously before this Court or any

other appellate court. Second, counsel for Habaş Sinai ve Tibbi Gazlar Istihsal

Endüstrisi A.Ş. is unaware of any case to be pending in this or any other court or

agency that will directly affect or be directly affected by this court’s decision in the

pending appeal.

II.     STATEMENT OF JURISDICTION

        Pursuant to 28 U.S.C. § 1295(a)(5), this Court possesses subject matter

jurisdiction over the appeal from the final judgment of the U.S. Court of

International Trade (“CIT”) entered on September 14, 2023. Habaş Sinai ve Tibbi

Gazlar Istihsal Endüstrisi A.Ş. v. United States, No. 21-00527, 2023 WL 5985777

(Ct. Int’l Trade Sept. 14, 2023) (“Habaş”) Appx00014-000018 and Slip. Op. 23-

133, Appx00001-000013.1 The CIT had exclusive jurisdiction over Habaş’

complaint under 28 U.S.C. § 1581(c).

        On November 13, 2023, Plaintiff-Appellant Habaş timely filed a notice of

appeal.


1
    “Appx__” refers to a page of the parties’ Joint Appendix.
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III.    STATEMENT OF THE ISSUES

        Was the U.S. Department of Commerce’s (“Commerce”) determination to

rely on the Turkish Lira (“TL”) value of Habaş’s home market (or “HM”) sales,

rather than the reported U.S. Dollar (“USD”) value inconsistent with Commerce’s

precedent and substantial evidence on the record, which demonstrates that the USD

amounts control the ultimate amount the purchaser pays for the sale?

IV.     STATEMENT OF THE CASE

        Plaintiff-Appellant Habaş Sinai ve Tibbi Gazlar Istihsal Endüstrisi A.Ş.

appeals the CIT’s judgment sustaining “Commerce’s decision to rely on the lira

values of its home-market sales rather than the reported dollar values.” Habaş,

2023 WL 5985777, at *2, Appx000016.

V.      STATEMENT OF FACTS

        A.       The Underlying Administrative Review

        Habaş was selected as a mandatory respondent in Commerce’s review and,

accordingly, timely submitted its questionnaire responses throughout the

proceeding. Between June 29, 2020, and July 12, 2020, Habaş submitted its

responses to Commerce’s sections A-C questionnaires. Habaş provided

information to support that its HM sales were all quoted and agreed upon in USD,

rather than the home market currency of TL, and that its reported HM sales

reconcile with its accounting systems. See Habaş Section A Questionnaire

Response (June 29, 2020), Appx001284-001287, Appx001323-001360 (“Sec. A
                                          2
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QR”); Habaş Section B-C Questionnaire Response (July 13, 2020), Appx01612-

001632, Appx001697-001740 (“Sec. B-C QR”). Specifically, Habaş demonstrated

that the customer’s order is made in U.S. Dollars, the sales confirmation is entirely

in U.S. Dollars, the invoice includes the U.S. Dollar exchange rate demonstrating

the agreed-upon U.S.-Dollar amount, and that the customer’s payment is made in

dollars. See Habaş Case Brief at 3-4 (Mar. 26, 2021), Appx003061-003062

(“Habaş Case Br.”); Sec. A QR at Exh. A-8, Appx001350-001360. On January 7,

2021, Habaş submitted its response to Commerce’s questionnaire requesting

supplemental information with respect to the Sections A-C questionnaires,

confirming again that “all HM sales were in U.S. dollars.” Habaş Supplemental

Sections A-C Questionnaire Response at 5 (Jan. 7, 2021), Appx001898 (“Sec. A-C

SQR”). In that questionnaire, Commerce requested additional support to reconcile

home market sales and that Habaş “provide payment documentation for” a specific

“home market invoice{}.” Sec. A-C SQR at 3, Appx0001896.2 Habaş responded

fully, providing “the supporting sources from its SAP system.” Id. Habaş also

provided a “detailed reconciliation of subject merchandise reported in domestic

sales to the monthly financial statements.” Id. at 2, Appx001895. Commerce did

not request additional information from Habaş.



2
 Cited questions are found in the Public Appendix. We note that Commerce’s
questions in the Confidential Appendix are inadvertently jumbled.
                                          3
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        Habaş demonstrated through its questionnaire responses and written

argument that prices are quoted and agreed to in U.S. Dollars and that its invoice

value is only reported in TL to conform to Turkish VAT regulations. See Habaş

Case Br. at 10-20, Appx003068-003078. Habaş also provided supporting

information to the record demonstrating the vast exchange rate fluctuations

endemic with the Turkish currency. See id. at 11-16, Appx003069-003074, (citing

Habaş’s home market sales database, provided in Sec. B-C QR at Exh. B-2,

Appx001699-001711); see also Sec. A-C SQR at Exh. S2-4.3 (revising the home

market sales listing), Appx002045-002057; id. at 3 and Exh. S2-5, Appx001896,

Appx002058-002059 (providing supporting calculations, including “all

information of the expense documents related to the sales of the subject

merchandise are shown in terms of date, TL Amount, Amount in Original

Currency, Vendor Name, and Reported Amount in the exhibits.” Id. at 2,

Appx001896).

        On February 24, 2021, the Department issued its preliminary results in

which it assigned Habaş a weighted average dumping margin of 21.48 percent.

Certain Hot-Rolled Steel Flat Products From the Republic of Turkey, 86 Fed. Reg.

11227, 11228 (Dep’t Commerce Feb. 24, 2021) (prelim. AD results & no

shipments determ.; 2018-2019) (“Preliminary Results”), Appx003049 and

accompanying Preliminary Decision Memorandum (“Preliminary Results Memo”),


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Appx003011-003029. In the Preliminary Results Memo, Commerce deviated from

its practice and relied on the TL value of home market sales, rather than the USD

value. Commerce stated that it relied on TL sales values because these were “the

only sale values that can be directly tied to the audited financial records.” Id. at 14,

Appx003024.

        On August 23, 2021, the Department published its Final AD Results,

assigning Habaş a weighted-average dumping margin of 24.32 percent. Certain

Hot-Rolled Steel Flat Products From the Republic of Turkey, 86 Fed. Reg. 47058,

47059 (Dep’t Commerce Aug. 23, 2021) (final AD results & no shipments determ.;

2018-2019 (“Final AD Results”), Appx000047, and accompanying Issues and

Decision Memorandum, (“Final Results IDM”), Appx000033-00045. In the Final

AD Results, Commerce continued to use TL-denominated sales price for Habaş’s

HM sales. See Final Results IDM at 8-9, Appx00040-000041. In a break from prior

cases, Commerce stated that use of the TL-denominated price was appropriate

because it “use{s} the sales value that can be reconciled to the company’s audited

financial statements.” Id. at 9, Appx000041.

        Disagreeing with Commerce’s Final AD Results, Habaş filed an appeal at

the CIT.




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        B.       The CIT’s Opinion

          The CIT found that “Habaş duly answered the Department’s various

questionnaires.” See Habaş, 2023 WL 5985777, at *1, Appx000015. Those

questionnaire responses provided “home-market sales data in both U.S. dollars and

lira” and “that customers’ orders were made and confirmed in dollars.” Id. The

CIT found that “the company contends that the same evidence shows that the

customers paid in dollars as well.” Id. The CIT also recognized that Habaş

“provided audited financial statements in Turkish lira.” Id. The CIT held that

“{s}ubstantial evidence supports Commerce’s valuation of Habaş’s home-market

sales in lira.” Id. at *4, Appx000017. The CIT also held that “no unnecessary

currency conversion occurred.” Id.

VI.     SUMMARY OF THE ARGUMENT

        Commerce’s determination to rely on the TL value of Habaş’s HM sales,

rather than the reported USD value is inconsistent with Commerce’s precedent and

substantial evidence on the record. In its home market sales database, Habaş

reported the gross unit price in U.S. Dollars and Turkish Lira. In the Turkish

market, Turkish producers, including Habaş, rely on the USD-denominated price to

avoid large fluctuations in the exchange rate. Thus, customers expect to see a

USD-denominated price. Habaş relied on this “transaction currency” when

responding to Commerce’s questionnaires. The factual record supports that home


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market sales were made and confirmed with a USD value; invoices were issued in

Turkish Lira in accordance with Turkish law, with the U.S. Dollar exchange rate

specified; and customers made their payments in U.S. Dollars. Thus, Commerce

should have relied on the reported USD values. Commerce’s reliance on a TL

value introduces distortions to the normal value calculation. The CIT similarly

erred in failing to account for record evidence which supports relying on the home

market USD amounts, and for allowing a deviation from Commerce’s practice in

affirming Commerce’s decision.

VII. ARGUMENT

        A.       Standard Of Review

        This Court applies the same standard as the CIT, upholding Commerce

determinations that are supported by substantial evidence on the record and

otherwise in accordance with the law. 19 U.S.C. §1516a(b)(1)(B)(i); Nan Ya

Plastics Corp. v. United States, 810 F.3d 1333, 1341 (Fed. Cir. 2016). Although

this Court “give{s} due respect to the {CIT’s} informed opinion,” Meridian

Prods., LLC v. United States, 851 F.3d 1375, 1381 (Fed. Cir. 2017) (internal

quotation marks and citations omitted) (second alteration in original), it reviews

Commerce’s determinations “de novo.” Ad Hoc Shrimp Trade Action Comm. v.

United States, 802 F.3d 1339, 1348 (Fed. Cir. 2015).




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        Because this Court’s review is done “without affording any deference to the

Court of International Trade, . . . this court must review the entire record for

substantial evidence and compliance with law.” Am. Silicon Techs. v. United

States, 334 F.3d 1033, 1036 (Fed. Cir. 2003) (citation and internal quotation marks

omitted). Therefore, this Court “must reverse a determination that is unsupported

by substantial evidence on the record, or otherwise not in accordance with law.”

Viraj Grp. v. United States, 476 F.3d 1349, 1354 (Fed. Cir. 2007) (citation and

internal quotation marks omitted).

        “Substantial evidence is more than a mere scintilla. It means such relevant

evidence as a reasonable mind might accept as adequate to support a conclusion.”

Consol. Edison Co. of N.Y. v. NLRB, 305 U.S. 197, 229 (1938). Commerce must

“take{ } into account contradictory evidence or evidence from which conflicting

inferences could be drawn . . . .” Universal Camera Corp. v. NLRB, 340 U.S. 474,

487 (1951). To support its determination with substantial evidence and comport

with applicable law, Commerce must provide a reasoned explanation for its

choices. See Changzhou Wujin Fine Chem. Factory Co. v. United States, 701 F.3d

1367, 1377 (Fed. Cir. 2012) (discussing Motor Vehicle Mfrs. Ass’n v. State Farm

Mut. Auto Ins. Co., 463 U.S. 29, 48-49 (1983)). To provide a reasoned explanation,

Commerce must “make the necessary findings and have an adequate evidentiary

basis for its findings,” and “examine the relevant data and articulate a satisfactory


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explanation for its action including a rational connection between the facts found

and the choice made.” In re NuVasive, Inc., 842 F.3d 1376, 1382 (Fed. Cir. 2016)

(internal quotation marks and citations omitted); see 19 U.S.C. § 1516a(b)(1)(B)(i).

While respecting agency expertise, the Supreme Court “has stressed the

importance of not simply rubber-stamping agency factfinding.” Dickinson v.

Zurko, 527 U.S. 150, 162 (1999).

        B.       Commerce’s Determination Is Not In Accordance With Law And
                 Is Not Supported By Substantial Evidence

        “Agencies have a responsibility to administer their statutorily accorded

powers fairly and rationally.” Anderson v. U.S. Sec’y of Agric., 462 F. Supp. 2d

1333, 1339 (Ct. Int’l Trade 2006), appeal dismissed, 260 F. App’x 266 (Fed. Cir.

2007); see also SunEdison, Inc. v. United States, 179 F. Supp. 3d 1309, 1316 (Ct.

Int’l Trade 2016) (“An agency determination that is arbitrary is ipso facto

unreasonable, and a determination is arbitrary when it fails to consider an

important aspect of the problem or treats similar situations in dissimilar ways.”)

(internal quotations omitted) (alterations omitted) (second emphasis added)

(footnote omitted). In other words, “{a}n agency is obligated to follow precedent,

and if it chooses to change, it must explain why.” Brit. Steel PLC v. United States,

127 F.3d 1471, 1475 (Fed. Cir. 1997) (quoting M.M.&P. Mar. Advancement,

Training, Educ. & Safety Program v. Dep’t of Com., 729 F.2d 748, 755 (Fed. Cir.

1984)).

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        Where Commerce makes a determination different from its past

determinations based on similar facts, Commerce must provide an explanation for

such a departure. See Nakornthai Strip Mill Pub. Co. v. United States, 587

F. Supp. 2d 1303, 1308 (Ct. Int’l Trade 2008) (“Accordingly, when departing from

its own precedent, Commerce must explain its departure.”); Brit. Steel, 127 F.3d at

1475 (Fed. Cir. 1997). Although Commerce’s “conclusions from earlier segments”

may not “serve as precedent controlling” future conclusions with respect to the

same antidumping or countervailing duty order, “courts ‘look for a reasoned

analysis or explanation’ from Commerce to ensure that the agency has not abused

its discretion in departing from prior analysis.” Içdaş Celik Enerji Tersane ve

Ulasim Sanayi A.Ş. v. United States, 498 F. Supp. 3d 1345, 1365 (Ct. Int’l Trade

2021) (quoting Wheatland Tube Co. v. United States, 161 F.3d 1365, 1369-70

(Fed. Cir. 1998)) “{A}n agency action is arbitrary when the agency offer{s}

insufficient reasons for treating similar situations differently.” SKF USA Inc. v.

United States, 263 F.3d 1369, 1382 (Fed. Cir. 2001) (second alteration in original)

(citation omitted). “{C}onsistency has long been a core interest of administrative

law, and inconsistent treatment is inherently significant.” DAK Americas LLC v.

United States, 456 F. Supp. 3d 1340, 1355 (Ct. Int’l Trade 2020) (citing Skidmore

v. Swift & Co., 323 U.S. 134, 140 (1944).




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                 1.   The Relevant Law and Commerce’s Application of the Law

        Commerce determines whether the subject merchandise is being sold at less

than fair value by conducting a “fair comparison” between the export price and

normal value. See 19 U.S.C. § 1677b(a). To calculate normal value, Commerce

will consider the

        price at which the foreign like product is first sold (or, in the absence
        of a sale, offered for sale) for consumption in the exporting country, in
        the usual commercial quantities and in the ordinary course of trade
        and, to the extent practicable, at the same level of trade as the export
        price{.}

19 U.S.C. § 1677b(a)(1)(B)(i). Commerce has a statutory obligation to “determine

dumping margins as accurately as possible” and the impacted “U.S. industry is not

entitled to a remedy in excess of the difference between foreign market value and

U.S. price.” NTN Bearing Corp. v. United States, 74 F.3d 1204, 1208 (Fed. Cir.

1995) (internal quotations and citations omitted). Where the “statute is silent,”

Commerce’s interpretation must be reasonable. See Chevron, USA, Inc. v. Nat’l

Res. Def. Council, Inc., 467 U.S. 837, 843 (1984). Here, Commerce’s

interpretation of the statute is inconsistent with its prior determinations and is

unreasonable as it is unsupported by the record evidence.

        “Transaction currency” is not defined by the statute or Commerce’s

regulations. In a different but analogous scenario, Commerce has more fully

explained “transaction currency” or the “currency of the transaction.” See, e.g.,


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Carlo G. Cavagna, Import Administration Policy Bulletin 98.2: Imputed credit

expenses and interest rates (Feb. 23, 1998), available at

https://enforcement.trade.gov/policy/bull98-2.htm (explaining that “{f}or the

purposes of calculating imputed credit expenses, {Commerce} will use a short-

term interest rate tied to the currency in which the sales are denominated.

{Commerce} will base this interest rate on the respondent’s weighted-average

short-term borrowing experience in the currency of the transaction.” (emphasis

added)). Commerce conducts an analysis of imputed credit expenses as part of its

normal value calculation, the very same overarching normal value calculation

Commerce is conducting in this case, analyzing the price of sales in the home

market, i.e., Turkey. Id. (Commerce may “make{} a circumstance of sale

adjustment to normal value (NV) to account for differences in credit terms.” Id.).

Again, Commerce’s stated practice is to rely upon the currency in which a sale was

earned or incurred, or the currency of the transaction. Here, that currency is the

U.S. Dollar.

        Commerce’s longstanding practice is to use the currency of a respondent’s

sale prices based on the currency which controls the ultimate amount a purchaser

pays for the sale. “Commerce’s normal policy, as reflected in the questionnaire

instructions . . . is that ‘the sale price, discounts, rebates and all other revenues and

expenses’ must be reported ‘in the currencies in which they were earned or


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incurred.’” Certain Hot-Rolled Steel Flat Products From the Republic of Turkey,

84 Fed. Reg. 30694 (Dep’t Commerce June 27, 2019) (final AD results & no

shipments determ.; 2016-2017) (“2016-17 HRS Final Results”), and accompanying

Issues and Decision Memorandum at 9 (“2016-17 HRS Final IDM”). Commerce

has explained that it will use the USD-denominated home market sale prices, as

reported, when and because the USD price controls the ultimate amount paid by its

home market customers. Commerce has emphasized two issues for consideration:

        (1) the price for these transactions is fixed in USD at the time of
        invoicing (i.e., at the date of sale); and (2) this USD price controls the
        ultimate amount that the purchaser pays for the sale, {Commerce has}
        used the USD dollar price in {its} analysis.

2016-17 HRS Final IDM at 10. Commerce has not explained why this standard

does not apply in the current case. Here, Commerce’s failure to rely on the USD

value for home market sales – the currency in which the transactional aspects of

the sale occurred – creates a great distortion of the margin.

                 2.   Commerce’s Prior Determinations Support Relying on the
                      USD-Denominated Home Market Sales Prices as Reported
                      by Habaş

        In the investigation of HRS from Turkey, one of the respondents (Erdemir)

reported as part of its sales process that “{t}he unit price is stated (in USD/ton) on

the pro forma invoice, deviations from which are not permitted.” Eregli Demir ve

Celik Fabrikalari T.A.Ş. v. United States, 308 F. Supp. 3d 1297, 1308 (Ct. Int’l

Trade 2018). Commerce accepted this reporting and, silent on the calculation,

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relied on the USD-denominated prices. Erdemir further explained, and Commerce

again accepted, that “{t}he final payable amount constitutes the unit price from the

pro forma invoice, multiplied by the actual tonnage, plus value added tax.” Id. In

that case, the CIT held that “Commerce’s determination to conduct its analysis in

the currency in which {the second respondent} keeps its books” was reasonable.

Id. at 1322.

        In the 2016-17 HRS Final Results, the respondent reported negotiating “the

prices for the HM sales in question in USD, and these prices did not change once

an agreement was reached.” 2016-17 HRS Final IDM at 9. In that case, the “buyer

paid the TL equivalent amount of the USD price at the time of payment,” but the

respondent “did not set prices in TL. Instead, {the respondent} set prices in USD.”

Id. Therefore, in that case, Commerce determined that converting the

        USD amount to TL at the payment date of the Turkish sale (i.e., what
        is paid by the HM customer) and then to convert this TL amount back
        to USD at the date of the U.S. sale would necessarily distort the HM
        sale prices denominated in USD, as they are included in normal value.

Id. Commerce reiterated its reasoning for relying on the USD price, consistent with

its practice to analyze whether the price was “fixed in USD at the time of

invoicing” and “this USD price controls the ultimate amount that the purchaser

pays for the sale.” Id. at 10. Commerce thus relied on USD. Id.

        In the second administrative review of HRS from Turkey, reviewing the

2017-2018 period, Commerce again “used the gross unit prices in the currency

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(e.g., TL or USD) in which the sale was originally denominated, and subsequently

reported by Colakoglu in its home market sales data, for the preliminary home

market sales analysis.” Certain Hot-Rolled Steel Flat Products From Republic of

Turkey, 84 Fed. Reg. 68878 (Dep’t Commerce Dec. 17, 2019) (prelim. AD results

& no shipments determ.; 2017-2018), and accompanying Preliminary Decision

Memorandum at 15 (“2017-18 HRS PDM”); see also, Certain Hot-Rolled Steel

Flat Products From the Republic of Turkey, 85 Fed. Reg. 63098 (Dep’t Commerce

Oct. 6, 2020) (final AD results & no shipments determ.; 2017-2018) (“2017-18

HRS Review”). Although Commerce did not issue a final results Issues and

Decision Memorandum with respect to Colakoglu in this 2017-18 HRS Review,

Commerce’s preliminary results contain an analysis consistent with the first

administrative review. Id. at 63099.

        In that review, Commerce reviewed commercial activities virtually identical

to Habaş’s commercial activities and came to a different decision than in the

instant review. To summarize, below we provide a comparison of Habaş’s

commercial practice to Colakoglu’s in the second administrative review of HRS

from Turkey (purely to provide the most recent data):

                                Habaş                    Colakoglu

 Order Currency                 USD                      USD
 Order Confirmation             USD                      USD
 Currency

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                                 Habaş                      Colakoglu

 Invoice                         TL, with USD foreign       TL and USD
                                 exchange (“forex”)
                                 rate
 Customer’s Payment              USD                        USD
 Currency


See Sec. A QR at Exh. A-8, Appx001350-001360; Sec. B-C QR at 24,

Appx001631; 2017-18 HRS PDM at 15 (providing details for Colakoglu).

        Commerce also analyzed a nearly identical scenario in the less-than-fair-

value investigation of Cold-Rolled Carbon Steel Flat Products from Turkey. In

that case, the respondent explained it “negotiated many home market sales in USD,

indexed to the USD sales value” and that “it issued an invoice to obtain from the

customer the exchange rate differences, . . . resulting from drastic currency

fluctuation in the exchange rate from the date of invoice to the date of payment,

deriving the amount in Turkish lira (TL) originally agreed upon for the sale.”

Certain Cold-Rolled Carbon Steel Flat Products From Turkey, 67 Fed. Reg. 62126

(Dep’t Commerce Oct. 3, 2002) (final LTFV determ.) (“Cold-Rolled Steel Flat

Products from Turkey”), and accompanying Issues and Decision Memorandum at 2

(“Cold-Rolled Steel Flat Products IDM”). Commerce agreed with the respondent

and used “its USD prices instead of TL prices.” Id. at 4.




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        In that case, Commerce and the respondent specifically reference the “kur

farki” or the “exchange rate differences” as an important factor in the analysis of

whether to use USD as the transaction currency. Indeed, Commerce explained:

            When a sale is priced in USD, {respondent} has assured itself that
        it will receive an amount of TL based upon the exchange rate in effect
        at the time of invoicing. . . . Therefore, because: 1) the price for these
        transactions is fixed in USD at the time of invoicing; 2) this price does
        not change, with a few extraordinary exceptions, prior to payment; 3)
        the POI coincides with a time of high inflation and the amount
        invoiced in TL does not equal the USD amount of the sale as
        negotiated; and 4) price differences may exist for sales negotiated in
        USD versus those negotiated in TL, we have used in our analysis the
        USD price for those home market sales negotiated in USD.

Id. at 5. The above factors were condensed into the analysis described in

Commerce’s final results in the 2016-2017 review of HRS from Turkey. See 2016-

17 HRS Final IDM at 10. Neither case mentions a prong of Commerce’s analysis

which requires a review of the respondent’s financial statements to determine

which currency to value home market sales. Both cases, however, emphasize that

the concerns (i.e. fluctuations in the value of the TL) which result in the use of

USD-denominated prices in the Turkish market still exist. See, e.g. Habaş Case

Br. at 11-15, Appx003069-003073.

        In this case, Habaş’s home market sales are negotiated, confirmed, and paid

in USD. See id. at 4, 16, Appx003062, Appx003074. However, Commerce

concluded and the CIT sustained the conclusion that “the record supports finding

that the USD-denominated price shown on the invoice has no connection with the

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ultimate payment and thus, the TL-denominated price on the invoice is the final

price.” Final Results IDM at 10-11, PR 112, Appx000042-000043. This analysis is

inconsistent with Commerce’s prior administrative reviews of HRS from Turkey.

                 3.   Commerce’s Questionnaires Support Relying on the
                      Transaction Currency Reported in a Respondent’s Books
                      and Records

        “Commerce’s normal policy, as reflected in the questionnaire instructions,”

is that “the sale price, discounts, rebates and all other revenues and expenses’ must

be reported ‘in the currencies in which they were earned or incurred{.}” 2016-

2017 HRS Final IDM at 9 (emphasis in original) (citation omitted). Like its prior

reviews, Commerce’s questionnaires in this case instructed Habaş to:

         Report the sale price, discounts, rebates and all other revenues and
          expenses in the currencies in which they were earned or incurred
          and net of taxes rebated or not collected when the product is
          exported (e.g., net of value added taxes (VAT)).

Letter from T. Gilgunn to Habaş Sinai ve Tibbi Gazlar Istihsal Endustrisi
A.S., transmitting Initial Questionnaire at B-19, Appx001152 (“DOC Initial
Questionnaire”).

         Report the sale price, discounts, rebates and all other revenues and
          expenses in the currencies in which they were earned or incurred.

Id. at C-18, Appx001184.

        In prior reviews, Commerce relied on the language in its questionnaires to

support relying on the transaction currency as reported in the respondent’s books

and records to calculate normal value. 2016-17 HRS Final IDM at 9; see also 19

U.S.C. § 1677b(f)(1)(A) (“Costs shall normally be calculated based on the records

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of the exporter or producer of the merchandise, if such records are kept in

accordance with the generally accepted accounting principles of the exporting

country . . . and reasonably reflect the costs associated with the production and sale

of the merchandise.”).

        Importantly, in a deviation from its prior determinations in its reviews of this

same order, Commerce now states that “{i}f the instruction in the AD

questionnaire is the reflection of using the transaction currency, then the term

would have been defined.” Final Results IDM at 9 n.47, Appx000041. In a review

of the same AD order, Commerce stated that its normal “policy {is} reflected in

the questionnaire instructions.” 2016-17 HRS Final IDM at 9. Commerce does not

offer any reason why its standard questionnaire language reflects its normal policy

in one review but not another. Commerce cannot treat similar situations in

dissimilar ways and, if it does it must explain why its decision differs from its

previous decisions. See Brit. Steel, 127 F.3d at 1475; SunEdison, 179 F. Supp. 3d

at 1316; Nakornthai, 87 F. Supp. 2d at 1276-77.

                 4.   Commerce’s Final Results are Not Based on Substantial
                      Evidence and are Not in Accordance with Law

        Commerce’s Final AD Results are inconsistent with its prior determinations

and are unreasonable as they are unsupported by the record evidence. In stark

contrast to the established precedent explained above, in the Final AD Results,

Commerce stated that “the currency in which the sales are ‘incurred’ is not the sole

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determining factor” and that it uses “the sales value that can be reconciled to the

company’s audited financial statements.” Final Results IDM at 9, Appx000041.

Although record evidence provides that the USD price controlled the ultimate

amount the purchaser paid for the sales, Commerce determined that other factors

led it to find that it should not use USD as the transaction currency, but, instead, to

rely on TL-denominated sales prices. Id. at 9-12, Appx000041-000044.

        In previous determinations, including investigations and orders on

merchandise from Turkey, Commerce has consistently relied on USD values for

home market sales when the transactional elements, including contracts,

confirmations, and payments, were made in dollars between the respondent and the

respondent’s customers in the home market. This approach also accounts for the

potential distortion of “the actual home market prices” in instances of “drastic”

currency devaluation, an issue endemic to Turkey. Cold-Rolled Steel Flat

Products IDM at 5. Habaş reasonably relied on Commerce’s decisions to regularly

use the USD-denominated values. Commerce’s failure to apply the same analysis

in this case causes a great distortion of the margin.

        Habaş responded to Commerce’s questionnaires in the form and manner

requested, providing the necessary payment documents to demonstrate that prices

are quoted in and agreed to in USD, i.e., “set in U.S. dollars,” and, thus, Commerce

should have used USD-denominated prices. See, e.g., Sec. A QR at 14,


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Appx001285. In contrast to Commerce’s finding that “the record supports finding

that the USD-denominated price shown on the invoice has no connection with the

ultimate payment,” Final Results IDM at 10, Appx000042, Habaş showed in its

sales reconciliation that its sales listings are accurate and complete, when using

Turkish Lira values in its accounting system and its sales currencies as U.S.

Dollars. See Sec. B-C QR at Exhs. B-1 - B-3 (providing reconciliation for HM

sales); Exhs. C-1 - C-3 (demonstrating that USD is used for U.S. sales, which are

also booked into the accounting system as TL), Appx001697-001715;

Appx001728-001740.

        The record demonstrates that the USD price does control the ultimate

amount paid because prices were negotiated in USD, and the USD to TL price

conversion was included on the invoice to the customer. Contrary to Commerce’s

description of the record, the invoice specific to the sample home market sale

matches the amount negotiated in the e-mail confirmation and customer order, all

in USD. Habaş provided an order form, e-mail confirmation for the sale, and the

associated invoice. The customer order form and e-mail confirmation for the sale

both identify the “Efektif fiyat” (effective price) of the merchandise. Sec. A QR at

Exh. A-8, Appx001350-001360; see also Habaş Case Br. at 4, Appx002220. The

related and only requested invoice on the record includes the “unit price usd”

multiplied by the “fx rate” (foreign exchange rate) to calculate the corresponding


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amount of Turkish Lira at the time of the invoice. Sec. A QR at Exh. A-8,

Appx001350-001360. The USD amount provided as the “unit price” is the same

on all three sales documents. Id. This unit price is the only key element for

pricing. Demonstrated in the customer’s order form and the customer’s e-mail

confirmation, the sale was negotiated in USD, and it was that USD price used to

calculate the Turkish Lira price at the time of invoicing. Id., Appx001353. The

TL price was not the driver; the USD price controls the ultimate amount the

customer paid for the sale. See id. at 14, Appx001285 (“{P}rices are quoted and

agreed in U.S. dollars.”).

        That Habaş must report its financial statements in Turkish Lira per Turkish

law is not probative evidence determinative of the transaction price which

controlled the amount for the sale. Accordingly, Commerce’s questions relate to

Habaş’s “sales process,” not its accounting practice, which conforms with Turkish

law. Id. at 13-14, Appx001284-001285. The record shows that the customer

expected a price in the amount of the USD value quoted in the invoice. The

payment amount provided in the sample invoice was controlled by the USD-value

appearing on the invoice, not the TL amount, as it was the same USD amount as

that provided in customer communications, and the amount recorded in the

supporting evidence for “payment” provided by Habaş is obviously in USD. Id. at

Exh. A-8, Appx001350-001360.


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        Commerce claims that it is “notable” that “Habas tied the TL sales value to

its audited financial records in its {home market} sales reconciliation.” Final

Results IDM at 8, Appx000040. The CIT agreed with Commerce’s explanation.

See Habaş, 2023 WL 5985777, at *4, Appx000017. This fact is not notable. Habaş

explained that in order to comply with Turkish law, all transactions must be

eventually converted to TL. Thus, its audited financial statements are necessarily in

Turkish Lira because Habaş is a Turkish company operating in Turkey, under

Turkish laws requiring reporting to be done in Turkish Lira. See Sec. A QR at Exh.

A-10, Appx001374-001461. This does not mean that the transaction was in TL.

Habaş also provided that it reported the “gross unit prices in US dollars . . . in

accordance with the currency in which Habaş and its customers agree when sales

are booked.” Sec. B-C QR at 24, Appx001631. Also on the record are the “line-

item total values in the transaction currency, i.e., USD.” Id. Finally, Habaş reported

“the Turkish lira (TL) line-item values that are booked into the accounting system

since all accounting entries must be made in TL, regardless of the transaction

currency.” Id. at 25, Appx001632. Thus, that the TL sales values reconcile

necessarily indicates that the dollar prices also reconcile because the TL values are

derived from the USD amounts on the invoices.

        Although Habaş has reported that it is unable to “report the date of the

receipt of payment on a transaction-specific basis because its information does not


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link payments to invoices,” the payment screenshot provided by Habaş clearly

demonstrates that the amount is recorded in USD. Habaş notes that it must report

this way (one payment sample) because it works with customers based on an open

account, where payments are continuous and do not match to individual invoice

amounts. See id. at 21, Appx001628; Sec. A QR at Exh. A-8, Appx001350-

001360 (providing the “amount” in USD); id. at 14, Appx001285 (explaining that

“{p}urchase orders may correspond to a single invoice or more.”).

        In short, it is not Habaş’s audited financial statements which show the price

controlling the ultimate amount the purchaser pays for the sale or the price fixed at

the time of invoicing. Here, the communications with the customer and the invoice

demonstrate the controlling price.

        Commerce has not relied on Habaş’s records which demonstrate that its

“HM sale prices are: (1) negotiated and ordered in USD, (2) invoiced in TL in

accordance with Turkish VAT regulations {with the USD exchange rate identified

in the text field on the face of the invoice}; and (3) paid in USD.” Final Results

IDM at 8 (footnotes omitted), Appx00040; see also Sec. A QR at 14, Appx001285

(“{P}rices are quoted and agreed in U.S. dollars.”); id. at Exh. A-8, Appx001350-

001360. The CIT focused on Habaş’s audited financial statements but, like

Commerce, improperly dismissed factual evidence on the record supporting the use

of the reported USD amounts. See Ceramark Tech., Inc. v. United States, 11 F.


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Supp. 3d 1317, 1323 (Ct. Int’l Trade 2014) (citing Allegheny Ludlum Corp. v.

United States, 112 F. Supp. 2d 1141, 1165 (Ct. Int’l Trade 2000)) (requiring that

Commerce consider or discuss record evidence which, on its face, provides

significant support for an alternative conclusion).

VIII. COMMERCE’S FINAL AD RESULTS CREATE ABSURD RESULTS
      WHICH ARE INCONSISTENT WITH THE RECORD

        In this case, Commerce found that “an inflation rate of at least 25% existed

during the comparison period based on the Turkish producer price index.”

Memorandum from L. Wang to The File, re: Habas Sinai ve Tibbi Gazlar Istihsal

Endustrisi A.S. (Habas) Preliminary Margin Calculation Memorandum at 2 (Feb.

17, 2021) (“Prelim. Margin Calc. Memo”), Appx003031. To combat the volatile

exchange rate, USD-denominated prices for sales in the home market are used.

        Prices negotiated in USD and prices negotiated in TL may be fixed
        differently, and if the prices are fixed differently for those who pay in
        USD versus TL, then the USD prices for sales negotiated in USD
        should be used to ensure capturing the real value for those sales.

Cold-Rolled Steel Flat Products IDM at 5. The record shows that Habaş negotiates

USD prices with its customers and that its customers pay in USD. See Sec. A QR

at Exh. A-8, Appx001360 (providing evidence of customer payment, which

demonstrates payment was made in USD). As described above, historically,

Commerce has considered such evidence as support enough to rely on the USD-

denominated prices in Commerce’s home market analysis.


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        Here, Commerce’s rationale is that the use of TL unit values is required

because, in part, “the information on the record supports finding that the USD-

denominated price shown on the invoice has no connection with the ultimate

payment and thus, the TL-denominated price on the invoice is the final price.

Notably, Habaş reported no price adjustments related to currency conversions.”

Final Results IDM at 10-11, Appx000042-000043. This is not the analysis used in

previous reviews, nor does Commerce provide support that it only considers the

connection between the prices on the invoice and the ultimate payment. See id. at

9-11, Appx000041-000043 (citing to Commerce’s questionnaire and to Eregli

Demir). First, Commerce cites to its questionnaire to support its “practice . . . to

use the sales value that can be reconciled to the company’s audited financial

statements.” Id. at 9 and n.48, Appx000041. This decision is in direct contradiction

to Commerce’s decision in the same review that it is not normal practice to use the

transaction currency because it is not defined in the questionnaire. Id. at 9 n.47,

Appx000041. Commerce is trying to use its questionnaire language to support one

practice (using values that reconcile to audited financial statements) but not

another (using the transaction currency as reported in the respondent’s books and

records), despite its prior determinations which allow for the use of the transaction

currency. Commerce must, at the very least, explain this discrepancy. See

Atchinson, Topeka & Santa Fe Ry. Co. v. Wichita Bd. of Trade, 412 U.S. 800, 808


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(1973) (the agency has a “duty to explain its departure from prior norms.”).

Second, as explained above, Eregli Demir requires that Commerce look to the

respondent’s books and records. Here, Habaş’s records demonstrate that

Commerce should rely on the USD-denominated sales as reported.

        Specifically, Habaş provided sales documentation demonstrating that its

customer’s order is made in dollars. See Sec. A QR at Exh. A-8, Appx001350-

001360. The home market sample sales demonstrate that the base price (“baz

fiyat”), the extras (“Ekstralar”), and the effective price (“Efektif fiyat”) are all in

U.S. dollars, as are the calculated total values (“tutar”), and cost and freight

(C.F.R.) destination value. Id. Communications with customers, confirming the

sales, demonstrate that the confirmed base price, extras, effective price, and cost

and freight (C.F.R.) are all in USD. Id. Habaş issues an electronic invoice, which

shows that the invoice value is in TL, as required by Turkish VAT regulations, and

the relevant unit price in USD, with the foreign exchange rate to convert from USD

to TL. Id. The TL value is only included to ensure compliance with Turkish Law.

See Habaş Case Br. at 2, Appx003060. Habaş also submitted evidence of payment;

this bank payment voucher clearly shows that payments were made in USD. See

Sec. A QR at Exh. A-8, Appx001350-001360. Commerce claims that “{s}ince the

bank receipt is not from Habas’s bank . . . the payment document is unlikely

maintained in Habas’s books and records.” Final Results IDM at 10, Appx000042.


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Commerce’s claim amounts to an assumption at best. It is a conclusion not based

in the evidence on the record. See Nucor Corp. v. United States, 675 F. Supp. 2d

1340, 1345 (Ct. Int’l Trade 2008) (“There must be a rational connection between

the facts found and the choice made.”) (quoting Burlington Truck Lines, Inc. v.

United States, 371 U.S. 156, 168 (1962)). Habaş responded to Commerce’s

questionnaire, providing customer payment information as part of its home market

sample sales reporting and submitted that “payment is made in dollars.” See, e.g.,

Habaş Case Br. at 4, Appx003062.

         Commerce acknowledged that Habaş’s home market sales were negotiated

and ordered in USD, and paid in USD.” Final Results IDM at 8, Appx00040

(accepting Habaş’s reporting). Although Habaş had to invoice its home market

sales in Turkish Lira pursuant to Turkish law, it “reported the USD price, USD

sales value (i.e., quantity * USD price), and the TL sales value.” Id.; see also Sec.

B-C QR at 6, Appx001613; Sec. A-C SQR at 2, Exhs. S2-2 – S2-3, Appx001895,

Appx002022-002035. This fact should not, and has not in past cases, precluded the

use of USD values for Habaş’s home market sales. See, e.g. 2016-17 HRS Final

IDM at 8 (including an undisputed description from respondent that “Turkish law

requires companies to report financial statements in TL and to pay value-added tax

in TL” but making no mention otherwise of an analysis of the respondent’s

financial statements); see also 2017-18 HRS PDM at 15 (reporting that the USD


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value was converted to TL “using the exchange rate” based on “the date it issued

its home market invoice.”); 2017-18 HRS Review, 85 Fed. Reg. at 63099 (making

no changes with respect to currency). In the 2016-17 HRS Final Results case,

Commerce relied on the USD-denominated values in the home market while the

respondent’s financial statements were reported in TL. 2016-17 HRS Final IDM at

8. Habaş is not in a unique situation – all companies’ audited financial statements

in Turkey must be in the national currency, Turkish Lira.

        Last, relying on the TL-denominated value, converted to U.S. Dollars,

introduces an extraordinary distortion to the margin calculations because the month

of the U.S. sale, August 2018, witnessed an aberrational and unique devaluation of

the Turkish currency as a result of the U.S. government’s imposition of additional

25 percent section 232 duties against Turkey, in addition to the original 232 duties

generally applicable to U.S. trading partners. See Proclamation 9705 of March 8,

2018, Adjusting Imports of Steel Into the United States, 83 Fed. Reg. 11625 (Mar.

15, 2018) (imposing a 25 percent import duty surcharge on steel products under

section 232 of the Trade Expansion Act of 1962, as amended, 19 U.S.C. § 1862);

Proclamation 9772 of August 10, 2018, Adjusting Steel Imports Into the United

States, 83 Fed. Reg. 40429 (Aug. 15, 2018) (imposing an additional 25 percent

duty on steel imports from Turkey). The Section 232 duties are extraordinary

examples of an endemic risk with denominating transactions in TL: the Turkish


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currency fluctuates often and widely. See Habaş Case Br. at 12-14, Appx003070-

003072. Month-to-month in 2018, differences in the foreign exchange rates range

from 2.2% to 17.6% and the percent difference changed almost every month of the

year. Id. at 12, Appx002228; see also Prelim. Calc. Memo at 2, Appx003031;

Habaş Case Br. at 12-14, Appx003070-003072 (reproducing foreign exchange

rates provided in Commerce’s data files attached to the Preliminary Margin

Calculation Memorandum). The same can be seen for 2019 and 2020. See Habaş

Case Br. at 12, Appx003070. Thus, to avoid the exchange rate fluctuation risks,

Turkish producers denominate transactions in U.S. Dollars. Commerce’s

calculation which converts the USD-denominated price from U.S. Dollars to

Turkish Lira and back again to U.S. Dollars introduces a distortion which the

USD-Denominated transaction is designed to prevent in this context. Substantial

evidence on the record and law support Commerce relying on the USD-

denominated price as reported by Habaş. Relying on the USD-denominated prices

represents the best information for the most accurate dumping margin.

IX.     CONCLUSION AND STATEMENT OF RELIEF SOUGHT

        For the reasons set forth above, Commerce’s Final AD Results were not in

accordance with law and were not supported by substantial evidence with respect

to Commerce’s determination to continue to use the TL-denominated price for

Habaş’s home market sales. The CIT’s decision sustaining Commerce’s


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conclusions is similarly not supported by substantial evidence on the record and is

otherwise not in accordance with law. Therefore, Habaş Sinai ve Tibbi Gazlar

Istihsal Endüstrisi A.Ş. requests that this Court reverse the CIT’s decision on this

issue, and remand to Commerce with instructions to issue a revised determination,

consistent with the opinion of this Court.



                                       Respectfully submitted,


                                             /s/ Jessica R. DiPietro
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                                             Counsel for Habaş Sinai ve Tibbi
                                             Gazlar Istihsal Endüstrisi A.Ş.
 January 16, 2024




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FORM 19. Certificate
FORM 19.             of Compliance
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                                ADDENDUM


                         Document                                Joint Appendix
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                                                                 Appx000001-
United States, No. 21-00527, slip op. 23-133 (Ct. Int’l
                                                                 000013
Trade Sept. 14, 2023)

Habaş Sinai ve Tibbi Gazlar Istihsal Endüstrisi A.Ş. v.
                                                                 Appx000014-
United States, No. 21-00527, 2023 WL 5985777 (Ct. Int’l
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Trade Sept. 14, 2023)



19 U.S.C. § 1677b(a)(1)(B)(i)                                    N/A




19 U.S.C. § 1677b(f)(1)(A)                                       N/A
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        +DEDü GXO\ DQVZHUHG WKH 'HSDUWPHQW·V YDULRXV
     TXHVWLRQQDLUHV 7KH FRPSDQ\·V 6HFWLRQ $ UHVSRQVH
     SURYLGHGDXGLWHGILQDQFLDOVWDWHPHQWVLQ7XUNLVKOLUD
     see$SS[–DQGLWV6HFWLRQ%DQG&UH
     VSRQVHVVXSSOLHGKRPH-PDUNHWVDOHVGDWDLQERWK86
     GROODUVDQGOLUDsee$SS[–+DEDüDOVR
     VXEPLWWHGHYLGHQFHWKDWFXVWRPHUV·RUGHUVZHUHPDGH
     DQGFRQILUPHGLQGROODUVWKHFRPSDQ\FRQWHQGVWKDW
     WKH VDPH HYLGHQFH VKRZV WKDW WKH FXVWRPHUV SDLG LQ
     GROODUVDVZHOO$SS[–

        ,Q LWV SUHOLPLQDU\ UHVXOWV &RPPHUFH IRXQG WKDW
     ´+DEDü UHFRQFLOHG LWV KRPH-PDUNHW VDOH YDOXHV LQ
     7XUNLVKOLUDWRLWVDXGLWHGILQDQFLDOUHFRUGVµVRWKH
     'HSDUWPHQW DFFRUGLQJO\ XVHG ´D KRPH PDUNHW XQLW
     SULFH GHQRPLQDWHG LQ >OLUD@µ $SS[ %DVHG RQ
     WKDWSULFHWKH'HSDUWPHQWFDOFXODWHGDZHLJKWHG-av-
     HUDJHGXPSLQJPDUJLQRISHUFHQW$SS[

        +DEDüWKHQDUJXHGWKDWWKHSUHOLPLQDU\UHVXOWVLP
     SURSHUO\ PHDVXUHG LWV KRPH-PDUNHW VDOHV LQ OLUD LQ
     VWHDG RI GROODUV $SS[– 7KH FRPSDQ\
     FRQWHQGHGWKDW7XUNLVKODZUHTXLUHGLWWRXVHOLUDDV
     WKHDFFRXQWLQJFXUUHQF\DQGWKDWWKH'HSDUWPHQWKDV
     D´FRQVLVWHQWOLQHRISUHFHGHQWVLQZKLFK&RPPHUFH
     KDV XVHG 86 GROODU YDOXHV IRU KRPH-PDUNHW VDOHV
     ZKHQWKHWUDQVDFWLRQDOHOHPHQWV FRQWUDFWVFRQILUPD
     WLRQV DQG SD\PHQWV  ZHUH PDGH LQ GROODUV EHWZHHQ
     WKHUHVSRQGHQWDQGLWVFXVWRPHUHYHQWKRXJKWKHDF
     FRXQWLQJ UHJLVWUDWLRQV RI WKH VDOHV ZHUH LQ ORFDO FXU
     UHQF\µ $SS[ 7KH GRPHVWLF SURGXFHUV UH
     VSRQGHG WKDW ´>W@KH WRWDO 86' YDOXH RI +DEDü· KRPH
     PDUNHWVDOHVKDVQRWEHHQUHFRQFLOHGWRWKHILQDQFLDO
     VWDWHPHQWVDQGWKXV&RPPHUFHPD\QRWUHO\RQWKRVH




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     86' YDOXHV LQ WKH DQWLGXPSLQJ FDOFXODWLRQVµ
     $SS[– HPSKDVLV DQG IRRWQRWH UHIHU
     HQFHVRPLWWHG 

         7KH'HSDUWPHQWUHLWHUDWHGLQLWVILQDOUHVXOWVWKDW
     LW KDG WR UHO\ RQ OLUD ´>E@HFDXVH +DEDü GHPRQVWUDWHG
     WKDWLWV>KRPH-PDUNHW@VDOHVZHUHUHSRUWHGDFFXUDWHO\
     DQG FRPSOHWHO\ LQ RQO\ WKH >OLUD@-GHQRPLQDWHG VDOHV
     YDOXHV EXW QRW WKH FODLPHG 86' VDOHV YDOXHVµ
     $SS[ ,Q UHVSRQVH WR +DEDü·V FRQWHQWLRQ WKDW
     WKH'HSDUWPHQWVKRXOGEDVHQRUPDOYDOXHRQGROODUV
     EHFDXVH ´&RPPHUFH·V QRUPDO SUDFWLFH LV WR XVH WKH
     ¶WUDQVDFWLRQFXUUHQF\·µWKHDJHQF\H[SODLQHGWKDWLWV
     SURWRFRO LV WR ´XVH WKH VDOHV YDOXH WKDW FDQ EH UHFRQ
     FLOHGWRWKHFRPSDQ\·VDXGLWHGILQDQFLDOVWDWHPHQWVµ
     $SS[ TXRWLQJ +DEDü FDVH EULHI DW   8VLQJ
     WKRVHYDOXHVEDVHGRQOLUDWKHDJHQF\FDOFXODWHGDIL
     QDO ZHLJKWHG-DYHUDJH GXPSLQJ PDUJLQ IRU WKH FRP
     SDQ\RISHUFHQW$SS[

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         +DEDü EURXJKW WKLV VXLW XQGHU  86&
      D D  $ L ,  DQG D D  % L  FKDOOHQJ
     LQJ&RPPHUFH·VILQDOGHWHUPLQDWLRQ(&)7KH
     FRXUWKDVVXEMHFW-PDWWHUMXULVGLFWLRQRYHUVXFKDFWLRQV
     XQGHU86& F 

        7KUHH GRPHVWLF VWHHO SURGXFHUV LQWHUYHQHG DV GH
     IHQGDQWV VXSSRUWLQJ WKH JRYHUQPHQW See (&) 
      &OHYHODQG-&OLIIV,QF (&) 6WHHO'\QDPLFV,QF
     DQG 66$% (QWHUSULVHV //&  +DEDü PRYHG IRU MXGJ
     PHQWRQWKHDJHQF\UHFRUG(&)7KHJRYHUQPHQW
     (&)  DQG WKH LQWHUYHQRUV (&)  RSSRVHG DQG




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     +DEDüUHSOLHG(&) FRQILGHQWLDO (&) SXEOLF 
     7KHFRXUWGHFLGHVWKHPRWLRQRQWKHSDSHUV

        ,Q DFWLRQV VXFK DV WKLV EURXJKW XQGHU  86&
     D D  ´>W@KHFRXUWVKDOOKROGXQODZIXODQ\GH
     WHUPLQDWLRQILQGLQJRUFRQFOXVLRQIRXQGWREHXQ
     VXSSRUWHG E\ VXEVWDQWLDO HYLGHQFH RQ WKH UHFRUG RU
     RWKHUZLVH QRW LQ DFFRUGDQFH ZLWK ODZµ  86&
     D E  % L 7KDWLVWKHTXHVWLRQLVQRWZKHWKHU
     WKHFRXUWZRXOGKDYHUHDFKHGWKHVDPHGHFLVLRQRQWKH
     VDPHUHFRUG—UDWKHULWLVZKHWKHUWKHDGPLQLVWUDWLYH
     UHFRUGDVDZKROHSHUPLWV&RPPHUFH·VFRQFOXVLRQ

         6XEVWDQWLDOHYLGHQFHKDVEHHQGHILQHG DVPRUH
         WKDQDPHUHVFLQWLOODDVVXFKUHOHYDQWHYLGHQFH
         DVDUHDVRQDEOHPLQGPLJKWDFFHSWDVDGHTXDWH
         WRVXSSRUWDFRQFOXVLRQ7RGHWHUPLQHLIVXEVWDQ
         WLDO HYLGHQFH H[LVWV ZH UHYLHZ WKH UHFRUG DV D
         ZKROHLQFOXGLQJHYLGHQFHWKDWVXSSRUWVDVZHOO
         DV HYLGHQFH WKDW IDLUO\ GHWUDFWV IURP WKH VXE
         VWDQWLDOLW\RIWKHHYLGHQFH

     Nippon Steel Corp. v. United States  )G 
      )HG&LU  FOHDQHGXS 

         ,Q DGGLWLRQ &RPPHUFH·V H[HUFLVH RI GLVFUHWLRQ LQ
     D D  FDVHVLVVXEMHFWWRWKHGHIDXOWVWDQGDUG
     RIWKH$GPLQLVWUDWLYH3URFHGXUH$FWZKLFKDXWKRUL]HV
     DUHYLHZLQJFRXUWWR´VHWDVLGHDJHQF\DFWLRQILQGLQJV
     DQGFRQFOXVLRQVIRXQGWREHDUELWUDU\FDSULFLRXV
     DQDEXVHRIGLVFUHWLRQRURWKHUZLVHQRWLQDFFRUGDQFH
     ZLWKODZµ86&  $ see Solar World Amer-
     icas, Inc. v. United States  )G   Q
      )HG &LU   H[SODLQLQJ WKDW LQ  D FDVHV




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     EURXJKWXQGHUVHFWLRQ$RIWKH7DULII$FWRI
     $3$´VHFWLRQUHYLHZDSSOLHVVLQFHQRODZSURYLGHV
     RWKHUZLVHµ  FLWLQJ  86&   E  ´>,@W LV ZHOO-
     HVWDEOLVKHG WKDW DQ DJHQF\ DFWLRQ LV DUELWUDU\ ZKHQ
     WKHDJHQF\RIIHUVLQVXIILFLHQWUHDVRQVIRUWUHDWLQJVLP
     LODU VLWXDWLRQV GLIIHUHQWO\µ See SKF USA Inc. v.
     United States  )G   )HG &LU  
      FOHDQHGXS 

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        +DEDü FKDOOHQJHV &RPPHUFH·V GHFLVLRQ WR UHO\ RQ
     WKH OLUD YDOXHV RI LWV KRPH-PDUNHW VDOHV UDWKHU WKDQ
     WKHUHSRUWHGGROODUYDOXHV(&)DW–7KHFRP
     SDQ\DVVHUWVWZRWKHRULHV)LUVWLWDUJXHVWKDWWKH'H
     SDUWPHQW·VGHWHUPLQDWLRQLVDUELWUDU\DQGXQUHDVRQD
     EOHJLYHQLWVKLVWRU\RISUHIHUULQJWKHWUDQVDFWLRQFXU
     UHQF\ Id. DW – 6HFRQG WKH FRPSDQ\ FODLPV WKDW
     WKHYDOXDWLRQRILWVKRPH-PDUNHWVDOHVLQOLUDFUHDWHV
     DPLVFKDUDFWHUL]DWLRQRIWKHVDOHSULFHWKDWGLVWRUWVWKH
     PDUJLQId. DW–

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         +DEDüDUJXHVWKDW&RPPHUFHXQODZIXOO\GHSDUWHG
     IURPLWV´ORQJVWDQGLQJSUDFWLFHWRXVHWKHFXUUHQF\
     RI D UHVSRQGHQW·V VDOH SULFHV EDVHG RQ WKH FXUUHQF\
     ZKLFKFRQWUROVWKHXOWLPDWHDPRXQWDSXUFKDVHUSD\V
     IRU WKH VDOHµ (&)  DW   7KH FRPSDQ\ FRQWHQGV
                                  
      $OWKRXJK LWV IDFWXDO GHWHUPLQDWLRQV UHFHLYH GHIHUHQFH

     Fujitsu Gen. Ltd. v. United States )G )HG
     &LU &RPPHUFHOLNHDOODJHQFLHVPXVWWUHDWOLNHVLW
     XDWLRQVFRQVLVWHQWO\See SunEdison, Inc. v. United States
      ) 6XSS G   &,7   ´>$@Q DJHQF\
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     WKDW LQ SUHYLRXV DQWLGXPSLQJ UHYLHZV WKH 'HSDUW
     PHQWVWDWHGWKDWLWVSUHIHUHQFHLVWRXVHWKHWUDQVDF
     WLRQ FXUUHQF\ WR DYRLG XQQHFHVVDU\ FXUUHQF\ FRQYHU
     VLRQVId.DW– FLWLQJ Stainless Steel Plate in Coils
     from the Republic of Korea)HG5HJ
      'HS·W &RPPHUFH $XJ    Certain Hot-Rolled
     Steel Flat Products from the Republic of Turkey
     )HG5HJ 'HS·W&RPPHUFH-XQH 
     DQG DFFRPSDQ\LQJ , ' 0HPR DW  – +56
     , '0HPR )RUH[DPSOHZKHQFDOFXODWLQJWKHKRPH-
     PDUNHWVDOHVRI&RODNRJOXDQRWKHU7XUNLVKGLVWULEX
     WRU RI VWHHO SURGXFWV &RPPHUFH VWDWHG WKDW LW ZRXOG
     PHDVXUH WKH VDOHV LQ GROODUV ZKHUH ´   WKH SULFH IRU
     WKHVH WUDQVDFWLRQV >ZDV@ IL[HG LQ 86' DW WKH WLPH RI
     LQYRLFLQJ i.e. DW WKH GDWH RI VDOH  DQG   WKLV 86'
     SULFH FRQWURO>OHG@ WKH XOWLPDWH DPRXQW WKDW WKH SXU
     FKDVHU SD>LG@ IRU WKH VDOHµ – +56 , ' 0HPR
     DW

        +DEDü DUJXHV WKDW LWV KRPH-PDUNHW VDOHV VDWLVI\
     WKHVH FULWHULD EHFDXVH WKH\ ZHUH ´QHJRWLDWHG Fon-
     ILUPHGDQGSDLGLQ86'ROODUVµ(&)DW7KH
     FRPSDQ\SRLQWVWRe-PDLOFRPPXQLFDWLRQVZLWKDFXV
     WRPHU DQG DQ LQYRLFH IRU D VDPSOH VDOH LQ ZKLFK WKH
     XOWLPDWHSULFHZDVQHJRWLDWHGLQGROODUV$SS[–
     $GGLWLRQDOO\DEDQNVWDWHPHQWVKRZVWKDWWKH
                                
     GHWHUPLQDWLRQWKDWLVDUELWUDU\LVipso factoXQUHDVRQDEOH
     DQGDGHWHUPLQDWLRQLVDUELWUDU\ZKHQLWWUHDWVVLPLODU
     VLWXDWLRQVLQGLVVLPLODUZD\Vµ see also Brit. Steel PLC v.
     United States  )G   )HG &LU   ´$Q
     DJHQF\LVREOLJDWHGWRIROORZSUHFHGHQWDQGLILWFKRRVHVWR
     FKDQJHLWPXVWH[SODLQZK\µ  TXRWLQJM.M.&P. Mar. Ad-
     vancement, Training, Educ. & Safety Program v. Dep’t of
     Com.)G )HG&LU 




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     FRPSDQ\UHFHLYHGDSD\PHQWLQGROODUVIURPWKHVDPH
     FXVWRPHU $SS[+DEDüLQVLVWVWKDWWKLVLQIRU
     PDWLRQDORQHGHPRQVWUDWHVWKDWLWVKRPH-PDUNHWVDOHV
     ZHUH WUDQVDFWHG LQ GROODUV DQG WKHUHIRUH REOLJDWHG
     &RPPHUFHWRXVHWKH86'SULFHLQLWVFDOFXODWLRQV

        7KH'HSDUWPHQWKRZHYHUZRXOGKDYHDFWHGLQFRQ
     VLVWHQWO\ZLWKLWVSUHFHGHQWRQO\LI+DEDü·VKRPH-PDU
     NHW VDOHV ZHUH QHJRWLDWHG LQ dROODUV and WKH GROODU
     SULFHXOWLPDWHO\FRQWUROOHGWKHDPRXQWSDLGSee –
     +56, '0HPRDW$OWKRXJKWKHFRPSDQ\SUR
     YLGHG HYLGHQFH WKDW WKH SULFHV ZHUH QHJRWLDWHG RU
     GHUHG DQG VHW LQ dROODUV RQ WKH LQYRLFH GDWH &RP
     PHUFHFRQFOXGHGWKDW+DEDüGLGQRWVKRZWKDWWKRVH
     SULFHV XOWLPDWHO\ FRQWUROOHG WKH ILQDO SD\PHQW
     $SS[–

        :KHQ GHWHUPLQLQJ ZKLFK FXUUHQF\·V YDOXH FRQ
     WUROOHGWKHWUDQVDFWLRQ&RPPHUFH·VSUDFWLFHLVWRORRN
     WR´WKHVDOHVYDOXHWKDWFDQEHUHFRQFLOHGWRWKHFRP
     SDQ\·VDXGLWHGILQDQFLDOVWDWHPHQWVµ$SS[see
     also Stainless Steel Flanges from the People’s Republic
     of China: Preliminary Affirmative Determination of
     Sales at Less Than Fair Value  )HG 5HJ 
      'HS·W &RPPHUFH 0DU    DQG DFFRPSDQ\LQJ
     3UHOLPLQDU\, '0HPRDW7KHUHIRUHDVLQSUHYLRXV
                                  
     &RPPHUFHH[SODLQHGWKDWWKLVEDQNVWDWHPHQWLVRIQRXVH

     EHFDXVH ´WKH SD\PHQW DPRXQWDSSDUHQWO\KDV QR FRQQHF
     WLRQZLWKWKH86'SULFHDQGTXDQWLW\VKRZQRQWKHLQYRLFH
      i.e.WKHSD\PHQWDPRXQWGRHVQRWHTXDO86'SULFHWLPHV
     TXDQWLW\ RU WR >VLF@ 86' SULFH WLPHV TXDQWLW\ SOXV WD[ µ
     $SS[7KH'HSDUWPHQWWKHUHIRUHFRQFOXGHGWKDWWKH
     SULFHVKRZQRQWKHGRFXPHQWKDGQRFRQQHFWLRQWRWKHXO
     WLPDWHSD\PHQWId.




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     LQYHVWLJDWLRQV WKH 'HSDUWPHQW UHTXLUHG +DEDü WR
     ´SURYLGH DUHFRQFLOLDWLRQRI WKHVDOHVUHSRUWHGLQ>LWV@
     KRPHPDUNHWVDOHVGDWDEDVHVWRWKHWRWDOVDOHVOLVWHG
     LQ >LWV@ ILQDQFLDO VWDWHPHQWVµ $SS[ 7KH FRP
     SDQ\FRUUHVSRQGLQJO\SURYLGHGDXGLWHGILQDQFLDOVWDWH
     PHQWV LQ OLUD $SS[ ZKLFK WKH DJHQF\ UHFRQ
     FLOedZLWK+DEDü·VUHSRUWHGVDOHVYDOXHV$SS[
     &RPPHUFHDFFRUGLQJO\GHWHUPLQHGWKDWWKHOLUDYDOXHV
     FRQWUROOHGWKHWUDQVDFWLRQ

        7KHFRPSDQ\DUJXHVWKDWLIWKH'HSDUWPHQWFRXOG
     UHFRQFLOHWKHOLUDLQYRLFHSULFHVZLWKDXGLWHGILQDQFLDO
     UHFRUGVWKHdROODUSULFHVQHFHVVDULO\UHFRQFLOHEHFDXVH
     WKHOLUDDPRXQWLV´GLUHFWO\UHODWHGWRDQGGHULYHGIURP
     WKH86'DPRXQWRQWKHLQYRLFHµ(&)DW&RP
     PHUFHKRZHYHUH[SODLQHGWKDW+DEDü´GRHVQRWNQRZ
     WKH SD\PHQW GDWH RI HDFK LQYRLFHµ $SS[ $F
     FRUGLQJO\WKH'HSDUWPHQWFRXOGQRWGHWHUPLQHZKDW
     IRUHLJQH[FKDQJHUDWHZDVLQHIIHFWRQWKHGDWHRIWKH
     DFWXDOSD\PHQWId. %HFDXVH&RPPHUFHFRXOGQRWDV
     VLJQ D YDOXH LQ dROODUV WR HDFK SD\PHQW UHFHLYHG LW
     FRXOGQRWUHFRQFLOHHDFKSD\PHQWZLWKWKHdROODUYDOXH
     oQWKHFRUUHVSRQGLQJLQYRLFH

        7KHVH IDFWV GLVWLQJXLVK WKLV UHYLHZ IURP
     &RODNRJOX·VVXEPLVVLRQLQWKH–DGPLQLVWUDWLYH
     UHYLHZ7KHUHWKH'HSDUWPHQWGHWHUPLQHGWKDWSULFHV

                                
     $V+DEDüSRLQWVRXWWKHOLUDH[SHULHQFHG´DQDEHUUDWLRQDO

     DQGXQLTXHGHYDOXDWLRQµGXULQJWKHSHULRGRIUHYLHZFDXV
     LQJWKHIRUHLJQH[FKDQJHUDWHVWRIOXFWXDWHE\DVPXFKDV
      SHUFHQW PRQWK-WR-PRQWK WKURXJKRXW  (&) 
     DW–AODUJHUDQJHRIH[FKDQJHUDWHVWKHUHIRUHFRXOG
     KDYHDSSOLHGRQHDFKSD\PHQWGDWH




                                    
                            Appx000010
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     ZHUHQHJRWLDWHGDQGLQYRLFHGLQdROODUVDQG´WKHEX\HU
     SDLGWKH>OLUD@HTXLYDOHQWDPRXQWRIWKH86'SULFHat
     the time of paymentµ – +56 , ' 0HPR DW 
      HPSKDVLVDGGHG UQOLNH+DEDüWKHUHIRUH&RODNRJOX
     FRXOGGHILQLWLYHO\DVVLJQIRUHLJQH[FKDQJHUDWHVWRVSH
     FLILF SD\PHQWV EHFDXVH LW NQHZ HDFK SD\PHQW GDWH
     and&RPPHUFHFRXOGFRQILUPWKDW&RODNRJOXZDV´SDLG
     WKH >OLUD@ DPRXQW EDVHG RQ WKH 86' SULFH VHW RQ WKH
     GDWHRIVDOHDQGWKHH[FKDQJHUDWHLQHIIHFWDWWKHWLPH
     RISD\PHQWµVRWKH´86'DPRXQWFRQWUROOHGWKHXOWL
     PDWH>OLUD@DPRXQWSDLGE\WKH>KRPH-PDUNHW@FXVWRP
     HUVµId.

        $VWKH'HSDUWPHQWH[SODLQHGKHUH´WKHFXUUHQF\LQ
     ZKLFKWKHVDOHVDUH¶LQFXUUHG·LVQRWWKHVROHGHWHUPLQ
     LQJ IDFWRUµ $SS[ 6XEVWDQWLDO HYLGHQFH VXS
     SRUWV &RPPHUFH·V YDOXDWLRQ RI +DEDü·V KRPH-PDUNHW
     VDOHVLQOLUDDQGWKHFRPSDQ\ GLGQRW VKRZWKDWWKH
     'HSDUWPHQWDFWHGDUELWUDULO\

                                  B

        +DEDüIXUWKHUDVVHUWVWKDW´UHO\LQJRQWKH>OLUD-@GH
     QRPLQDWHGYDOXHFRQYHUWHGWR86'ROODUVLQWURGXFHV
     DQ H[WUDRUGLQDU\ GLVWRUWLRQ WR WKH PDUJLQ FDOFXOD
     WLRQVµ (&)  DW  7KLV FODLP GHULYHV IURP &RP
     PHUFH·VHVWDEOLVKHGSUDFWLFHWKDWGLVIDYRUVFRQYHUWLQJ
     SULFHV´LQWRWKH>KRPH-PDUNHW@FXUUHQF\DWWKHGDWHRI
     WKH>KRPH-PDUNHW@VDOHDQGWKHQEDFNWR86'DWWKH
     GDWHRIWKH86VDOHµ–+56, '0HPRDW
     see also 86&E- D  REOLJDWLQJWKH'HSDUW
     PHQWWR´FRQYHUWIRUHLJQFXUUHQFLHVLQWR8QLWHG6WDWHV
     dROODUVXVLQJWKHH[FKDQJHUDWHLQHIIHFWRQWKHGDWHRI
     VDOHRIWKHVXEMHFWPHUFKDQGLVHµLQVWHDGRIWKHUDWHLQ




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                            Appx000011
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     HIIHFWRQWKHGDWHRIWKHKRPH-PDUNHWVDOH CRQYHUW
     LQJD86dROODUSULFHLQWROLUDDWWKHGDWHRIWKHKRPH-
     PDUNHWVDOHDQGWKHQEDFNLQWRdROODUVXVLQJDGLIIHU
     HQW H[FKDQJH UDWH DW WKH GDWH RI WKH 86 VDOH ZRXOG
     WKHUHIRUHGLVWRUWWKHKRPH-PDUNHWSULFH

        7KH 'HSDUWPHQW KRZHYHU GLG QRW ´FRQYHUW>@ WKH
     86'-GHQRPLQDWHGSULFHIURP86'ROODUVWR7XUNLVK
     /LUDµ (&)  DW  ,W LQVWHDG GLUHFWO\ ´UHOLHG RQ
     +DEDü·V UHSRUWHG >OLUD@ YDOXHV ZKLFK UHFRQFLOHG WR
     +DEDü·VDXGLWHGILQDQFLDOVWDWHPHQWVµ(&)DW
     7KHUHIRUH QR XQQHFHVVDU\ FXUUHQF\ FRQYHUVLRQ RF
     FXUUHG

                                  

        )RUWKHIRUHJRLQJUHDVRQVWKHFRXUWGHQLHV+DEDü·V
     PRWLRQIRUMXGJPHQWRQWKHDJHQF\UHFRUGDQGJUDQWV
     MXGJPHQWRQWKHDJHQF\UHFRUGWRWKHJRYHUQPHQWDQG
     'HIHQGDQW-,QWHUYHQRUV See86&,75 E $VHSD
     rDWHMXGJPHQWZLOOLVVXHSee86&,75 D 

     'DWHG 6HSWHPEHU           VM. Miller Baker
            1HZ<RUN1<                 -XGJH




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                             Appx000012
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         UNITED STATES COURT OF INTERNATIONAL TRADE

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 ,67,+6$/(1'h675,6,$û,
       Plaintiff,                          Ct. No. 21-00527
 v.
 81,7('67$7(6,                            Before: M. Miller Baker, Judge
       Defendant,
 and
 &/(9(/$1'-&/,))6,1&67((/
 DYNAMICS, INC.; and SSAB
 (17(535,6(6//&
       Defendant-Intervenors.

                                JUDGMENT

       For the reasons stated in Slip Opinion 23-133 (ECF 67), the court DE-

NIES Plaintiff’s motion for judgment on the agency record (ECF 33), GRANTS

judgment on the agency record to Defendant and Defendant-Intervenors, and

SUSTAINS the Department of Commerce’s final determination in this matter.

Dated:       September 14, 2023           /s/ M. Miller Baker
             New York, New York           M. Miller Baker, Judge




                                 Appx000013
     Case: 24-1158   Document: 18   Page: 57   Filed: 01/16/2024




   Habaş Sinai ve Tibbi Gazlar Istihsal
 Endüstrisi A.Ş. v. United States, No. 21-
00527, 2023 WL 5985777 (Ct. Int’l Trade
             Sept. 14, 2023)
               Appx000014-000018
                 Case: 24-1158              Document: 18           Page: 58           Filed: 01/16/2024
Habaş Sinai ve Tibbi Gazlar Istihsal Endüstrisi A.Ş. v...., Not Reported in Fed....




                                                                Baker, Judge:
    KeyCite Blue Flag – Appeal Notification
Appeal Filed by HABAS SINAI VE TIBBI GAZLAR ISTIHSAL             *1 In this case, a Turkish manufacturer and distributor
ENDUSTRISI v. US, Fed.Cir., November 17, 2023                   challenges the Department of Commerce's calculation of
                                                                its home-market sales in an administrative review of an
                    2023 WL 5985777                             antidumping order applicable to steel imports from that
      Only the Westlaw citation is currently available.         country. For the reasons below, the court sustains Commerce's
        United States Court of International Trade.             determination.

           HABAŞ SINAI VE TIBBI GAZLAR
         ISTIHSAL ENDÜSTRISI A.Ş., Plaintiff,
                        v.                                                                     I
              UNITED STATES, Defendant,                         To combat unfair trade practices, the Tariff Act of 1930, as
                        and                                     amended, permits Commerce to impose antidumping duties
      Cleveland-Cliffs Inc.; Steel Dynamics, Inc.; and          on an importer of “foreign merchandise [that] is being, or
      SSAB Enterprises LLC, Defendant-Intervenors.              is likely to be, sold in the United States at less than its fair
                                                                value.” 19 U.S.C. § 1673(1). This requires the Department
                       Slip Op. 23-133                          to conduct “a fair comparison ... between the export price
                              |                                 or constructed export price and normal value” of the subject
                     Court No. 21-00527                         merchandise. Id. § 1677b(a). The statute defines “normal
                              |                                 value” as “the price at which the foreign like product is
                     September 14, 2023                         first sold (or, in the absence of a sale, offered for sale) for
                                                                consumption in the exporting country ....” Id. § 1677b(a)
Attorneys and Law Firms
                                                                (1)(B)(i); see also Hung Vuong Corp. v. United States, 483
Matthew M. Nolan and Jessica R. DiPietro, ArentFox Schiff       F. Supp. 3d 1321, 1334 n.6 (CIT 2020) (discussing normal
LLP of Washington, DC, on the briefs for Plaintiff.             value). This case concerns the calculation of normal value.

Brian M. Boynton, Principal Deputy Assistant Attorney
General; Patricia M. McCarthy, Director; Tara K. Hogan,
                                                                                               II
Assistant Director; and Kelly A. Krystyniak, Trial
Attorney, Commercial Litigation Branch, Civil Division,         In 2016, the Department issued an antidumping order
U.S. Department of Justice of Washington, DC, on the            covering hot-rolled steel flat products from Turkey. See
brief for Defendant. Of counsel on the brief was Paul K.        Certain Hot-Rolled Steel Flat Products from Australia,
Keith, Senior Attorney, Office of the Chief Counsel for         Brazil, Japan, the Republic of Korea, the Netherlands, the
Trade Enforcement and Compliance, U.S. Department of            Republic of Turkey, and the United Kingdom, 81 Fed. Reg.
Commerce of Washington, DC.                                     67,962 (Dep't Commerce Oct. 3, 2016). In 2019, several
                                                                domestic producers requested an administrative review of
Stephen P. Vaughn and Daniel L. Schneiderman, King
                                                                that order covering the period from October 1, 2018, through
& Spalding, LLP, of Washington, DC, on the brief for
                                                                September 30, 2019. Appx001085-001088; see Antidumping
Defendant-Intervenor Cleveland-Cliffs, Inc.
                                                                or Countervailing Duty Order, Finding, or Suspended
Roger B. Schagrin and Jeffrey D. Gerrish, Schagrin              Investigation; Opportunity to Request Administrative Review,
Associates of Washington, DC, on the brief for Defendant-       84 Fed. Reg. 52,068, 52,070 (Dep't Commerce Oct. 1, 2019).
Intervenors Steel Dynamics, Inc., and SSAB Enterprises,         Commerce opened a review and selected Habaş Sinai ve
LLC.                                                            Tibbi Gazlar Istihsal Endüstrisi, a Turkish manufacturer and
                                                                exporter of rebar, as the sole mandatory respondent. Initiation
                                                                of Antidumping and Countervailing Duty Administrative
                                                                Reviews, 84 Fed. Reg. 67,712, 67,716 (Dep't Commerce Dec.
                        OPINION
                                                                11, 2019); see also Appx001096–001101.



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                                                      Appx000014
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Habaş duly answered the Department's various
questionnaires. The company's Section A response provided
                                                                                               III
audited financial statements in Turkish lira, see Appx001374–
001461, and its Section B and C responses supplied               Habaş brought this suit under 19 U.S.C. §§ 1516a(a)(2)(A)
home-market sales data in both U.S. dollars and lira, see        (i)(I) and 1516a(a)(2)(B)(i) challenging Commerce's final
Appx001631–001632. Habaş also submitted evidence that            determination. ECF 10, ¶ 3. The court has subject-matter
customers’ orders were made and confirmed in dollars; the        jurisdiction over such actions under 28 U.S.C. § 1581(c).
company contends that the same evidence shows that the
customers paid in dollars as well. Appx001350–001360.            Three domestic steel producers intervened as defendants
                                                                 supporting the government. See ECF 18 (Cleveland-Cliffs
In its preliminary results, Commerce found that “Habaş           Inc.), ECF 24 (Steel Dynamics, Inc., and SSAB Enterprises
reconciled its home-market sale values in Turkish lira ... to    LLC). Habaş moved for judgment on the agency record. ECF
its audited financial records,” so the Department accordingly    44. The government, ECF 49, and the intervenors, ECF 43,
used “a home market unit price denominated in [lira].”           opposed and Habaş replied, ECF 45 (confidential); ECF 46
Appx001024. Based on that price, the Department calculated       (public). The court decides the motion on the papers.
a weighted-average dumping margin of 21.48 percent.
Appx001049.                                                      In actions such as this brought under 19 U.S.C. § 1516a(a)(2),
                                                                 “[t]he court shall hold unlawful any determination, finding, or
Habaş then argued that the preliminary results improperly        conclusion found ... to be unsupported by substantial evidence
measured its home-market sales in lira instead of dollars.       on the record, or otherwise not in accordance with law.”
Appx002213–002237. The company contended that Turkish            19 U.S.C. § 1516a(b)(1)(B)(i). That is, the question is not
law required it to use lira as the accounting currency,          whether the court would have reached the same decision
and that the Department has a “consistent line of                on the same record—rather, it is whether the administrative
precedents ... in which Commerce has used U.S. dollar values     record as a whole permits Commerce's conclusion.
for home-market sales, when the transactional elements
(contracts, confirmations, and payments) were made in
dollars between the respondent and its customer, even though                 Substantial evidence has been defined
the accounting registrations of the sales were in local                      as more than a mere scintilla, as such
currency.” Appx002219. The domestic producers responded                      relevant evidence as a reasonable mind
that “[t]he total USD value of Habaş’ home market sales                      might accept as adequate to support a
has not been reconciled to the financial statements, and                     conclusion. To determine if substantial
thus Commerce may not rely on those USD values in the                        evidence exists, we review the record
antidumping calculations.” Appx002247–002248 (emphasis                       as a whole, including evidence that
and footnote references omitted).                                            supports as well as evidence that fairly
                                                                             detracts from the substantiality of the
 *2 The Department reiterated in its final results that it had               evidence.
to rely on lira “[b]ecause Habaş demonstrated that its [home-
market] sales were reported accurately and completely in
only the [lira]-denominated sales values, but not the claimed
                                                                 Nippon Steel Corp. v. United States, 337 F.3d 1373, 1379
USD sales values.” Appx001069. In response to Habaş’s
                                                                 (Fed. Cir. 2003) (cleaned up).
contention that the Department should base normal value
on dollars because “Commerce's normal practice is to use
                                                                 In addition, Commerce's exercise of discretion in §
the ‘transaction currency,’ ” the agency explained that its
                                                                 1516a(a)(2) cases is subject to the default standard of the
protocol is to “use the sales value that can be reconciled
                                                                 Administrative Procedure Act, which authorizes a reviewing
to the company's audited financial statements.” Appx001069
                                                                 court to “set aside agency action, findings, and conclusions
(quoting Habaş case brief at 2). Using those values based on
                                                                 found to be ... arbitrary, capricious, an abuse of discretion,
lira, the agency calculated a final weighted-average dumping
                                                                 or otherwise not in accordance with law.” 5 U.S.C. § 706(2)
margin for the company of 24.32 percent. Appx001079.
                                                                 (A); see Solar World Americas, Inc. v. United States, 962


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                                                      Appx000015
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F.3d 1351, 1359 n.2 (Fed. Cir. 2020) (explaining that in                   F.3d 1034, 1039 (Fed. Cir. 1996), Commerce, like
§ 1516a cases brought under section 516A of the Tariff                     all agencies, must treat like situations consistently.
Act of 1930, APA “section 706 review applies since no                      See SunEdison, Inc. v. United States, 179 F.
law provides otherwise”) (citing 28 U.S.C. § 2640(b)). “[I]t               Supp. 3d 1309, 1316 (CIT 2016) (“[A]n agency
is well-established that an agency action is arbitrary when                determination that is arbitrary is ipso facto
the agency offers insufficient reasons for treating similar                unreasonable, and a determination is arbitrary
situations differently.” See SKF USA Inc. v. United States, 293            when it ... treats similar situations in dissimilar
F.3d 1369, 1382 (Fed. Cir. 2001) (cleaned up).                             ways.”); see also Brit. Steel PLC v. United States,
                                                                           127 F.3d 1471, 1475 (Fed. Cir. 1997) (“An
                                                                           agency is obligated to follow precedent, and if it
                                                                           chooses to change, it must explain why.”) (quoting
                               IV
                                                                           M.M.&P. Mar. Advancement, Training, Educ. &
Habaş challenges Commerce's decision to rely on the lira                   Safety Program v. Dep't of Com., 729 F.2d 748, 755
values of its home-market sales rather than the reported                   (Fed. Cir. 1984)).
dollar values. ECF 44, at 2–3. The company asserts two               *3 Habaş argues that its home-market sales satisfy these
theories. First, it argues that the Department's determination is   criteria because they were “negotiated, confirmed, and paid in
arbitrary and unreasonable given its history of preferring the      U.S. Dollars.” ECF 44, at 15. The company points to e-mail
transaction currency. Id. at 9–23. Second, the company claims       communications with a customer and an invoice for a sample
that the valuation of its home-market sales in lira creates a       sale in which the ultimate price was negotiated in dollars.
mischaracterization of the sale price that distorts the margin.     Appx001351–001353. Additionally, a bank statement shows
Id. at 23–30.                                                       that the company received a payment in dollars from the same
                                                                    customer. 2 Appx001360. Habaş insists that this information
                                                                    alone demonstrates that its home-market sales were transacted
                               A                                    in dollars and therefore obligated Commerce to use the USD
                                                                    price in its calculations.
Habaş argues that Commerce unlawfully departed from its
“longstanding practice ... to use the currency of a respondent's    2      Commerce explained that this bank statement is of
sale prices based on the currency which controls the ultimate
                                                                           no use because “the payment amount apparently
amount a purchaser pays for the sale.” ECF 44, at 13. 1 The
                                                                           has no connection with the USD price and quantity
company contends that in previous antidumping reviews, the
                                                                           shown on the invoice (i.e., the payment amount
Department stated that its preference is to use the transaction
                                                                           does not equal USD price times quantity, or to [sic]
currency to avoid unnecessary currency conversions. Id. at
                                                                           USD price times quantity plus tax).” Appx001070.
13–14 (citing Stainless Steel Plate in Coils from the Republic
                                                                           The Department therefore concluded that the price
of Korea, 66 Fed. Reg. 45,279, 45,280 (Dep't Commerce Aug.
                                                                           shown on the document had no connection to the
28, 2001); Certain Hot-Rolled Steel Flat Products from the
                                                                           ultimate payment. Id.
Republic of Turkey, 84 Fed. Reg. 30,694 (Dep't Commerce
June 27, 2019), and accompanying I&D Memo at 10 (2016–              The Department, however, would have acted inconsistently
17 HRS I&D Memo)). For example, when calculating the                with its precedent only if Habaş’s home-market sales were
home-market sales of Colakoglu, another Turkish distributor         negotiated in dollars and the dollar price ultimately controlled
of steel products, Commerce stated that it would measure the        the amount paid. See 2016-17 HRS I&D Memo at 10.
sales in dollars where “(1) the price for these transactions        Although the company provided evidence that the prices were
[was] fixed in USD at the time of invoicing (i.e., at the date of   negotiated, ordered, and set in dollars on the invoice date,
sale); and (2) this USD price control[led] the ultimate amount      Commerce concluded that Habaş did not show that those
that the purchaser pa[id] for the sale.” 2016–17 HRS I&D            prices ultimately controlled the final payment. Appx001070–
Memo at 10.                                                         001071.


1                                                                   When determining which currency's value controlled the
        Although its factual determinations receive
                                                                    transaction, Commerce's practice is to look to “the sales value
        deference, Fujitsu Gen. Ltd. v. United States, 88           that can be reconciled to the company's audited financial



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                                                         Appx000016
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                                                                  payment,” so the “USD amount controlled the ultimate [lira]
statements.” Appx001069; see also Stainless Steel Flanges
                                                                  amount paid by the [home-market] customers.” Id.
from the People's Republic of China: Preliminary Affirmative
Determination of Sales at Less Than Fair Value, 83 Fed. Reg.
                                                                   *4 As the Department explained here, “the currency
13,244 (Dep't Commerce Mar. 28, 2018) and accompanying
                                                                  in which the sales are ‘incurred’ is not the sole
Preliminary I&D Memo at 9. Therefore, as in previous
                                                                  determining factor.” Appx001069. Substantial evidence
investigations, the Department required Habaş to “provide
                                                                  supports Commerce's valuation of Habaş’s home-market
a reconciliation of the sales reported in [its] home market
                                                                  sales in lira, and the company did not show that the
sales databases to the total sales listed in [its] financial
                                                                  Department acted arbitrarily.
statements.” Appx001139. The company correspondingly
provided audited financial statements in lira, Appx001070,
which the agency reconciled with Habaş’s reported sales
values, Appx001068. Commerce accordingly determined that                                        B
the lira values controlled the transaction.
                                                                  Habaş further asserts that “relying on the [lira-]denominated
The company argues that if the Department could reconcile         value, converted to U.S. Dollars, introduces an extraordinary
the lira invoice prices with audited financial records, the       distortion to the margin calculations.” ECF 44, at 28. This
dollar prices necessarily reconcile because the lira amount       claim derives from Commerce's established practice that
is “directly related to and derived from the USD amount on        disfavors converting prices “into the [home-market] currency
the invoice.” ECF 46, at 12. Commerce, however, explained         at the date of the [home-market] sale and then back to USD
that Habaş “does not know the payment date of each                at the date of the U.S. sale.” 2016–17 HRS I&D Memo at 9;
invoice.” Appx001070. Accordingly, the Department could           see also 19 U.S.C. § 1677b-1(a) (obligating the Department
not determine what foreign exchange rate was in effect on the     to “convert foreign currencies into United States dollars using
                                                                  the exchange rate in effect on the date of sale of the subject
date of the actual payment. Id. 3 Because Commerce could
                                                                  merchandise” instead of the rate in effect on the date of the
not assign a value in dollars to each payment received, it
                                                                  home-market sale). Converting a U.S. dollar price into lira at
could not reconcile each payment with the dollar value on the
                                                                  the date of the home-market sale and then back into dollars
corresponding invoice.
                                                                  using a different exchange rate at the date of the U.S. sale
                                                                  would therefore distort the home-market price.
3
       As Habaş points out, the lira experienced “an
       aberrational and unique devaluation” during the            The Department, however, did not “convert[ ] the USD-
       period of review, causing the foreign exchange             denominated price from U.S. Dollars to Turkish Lira.” ECF
       rates to fluctuate by as much as 17.6 percent month-       44, at 29. It instead directly “relied on Habaş’s reported
       to-month throughout 2018. ECF 44, at 28–29. A              [lira] values, which reconciled to Habaş’s audited financial
       large range of exchange rates therefore could have         statements.” ECF 49, at 26. Therefore, no unnecessary
       applied on each payment date.                              currency conversion occurred.
These facts distinguish this review from Colakoglu's
submission in the 2016–17 administrative review. There,                                       ***
the Department determined that prices were negotiated
and invoiced in dollars and “the buyer paid the [lira]            For the foregoing reasons, the court denies Habaş’s motion
equivalent amount of the USD price at the time of payment.”       for judgment on the agency record and grants judgment on the
2016–17 HRS I&D Memo at 9 (emphasis added). Unlike                agency record to the government and Defendant-Intervenors.
Habaş, therefore, Colakoglu could definitively assign foreign     See USCIT R. 56.2(b). A separate judgment will issue. See
exchange rates to specific payments because it knew each          USCIT R. 58(a).
payment date, and Commerce could confirm that Colakoglu
was “paid the [lira] amount based on the USD price set on
                                                                  All Citations
the date of sale and the exchange rate in effect at the time of
                                                                  Not Reported in Fed. Supp., 2023 WL 5985777




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   19 U.S.C § 1677b(a)(1)(B)(i)
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         EFFECTIVE DATE OF 1984 AMENDMENT                      (iii) the particular market situation in
  Amendment by Pub. L. 98–573 effective Oct. 30, 1984,       the exporting country does not permit a
see section 626(a) of Pub. L. 98–573, set out as a note      proper comparison with the export price or
under section 1671 of this title.                            constructed export price.
§ 1677b. Normal value                                        For purposes of clause (ii), the aggregate
                                                             quantity (or value) of the foreign like prod-
(a) Determination
                                                             uct sold in the exporting country shall nor-
  In determining under this subtitle whether                 mally be considered to be insufficient if such
subject merchandise is being, or is likely to be,            quantity (or value) is less than 5 percent of
sold at less than fair value, a fair comparison              the aggregate quantity (or value) of sales of
shall be made between the export price or con-               the subject merchandise to the United
structed export price and normal value. In order             States.
to achieve a fair comparison with the export              (2) Fictitious markets
price or constructed export price, normal value
shall be determined as follows:                              No pretended sale or offer for sale, and no
                                                          sale or offer for sale intended to establish a
  (1) Determination of normal value
                                                          fictitious market, shall be taken into account
    (A) In general                                        in determining normal value. The occurrence
      The normal value of the subject merchan-            of different movements in the prices at which
    dise shall be the price described in subpara-         different forms of the foreign like product are
    graph (B), at a time reasonably cor-                  sold (or, in the absence of sales, offered for
    responding to the time of the sale used to            sale) in the exporting country after the
    determine the export price or constructed             issuance of an antidumping duty order may be
    export price under section 1677a(a) or (b) of         considered by the administering authority as
    this title.                                           evidence of the establishment of a fictitious
    (B) Price                                             market for the foreign like product if the
      The price referred to in subparagraph (A)           movement in such prices appears to reduce the
    is—                                                   amount by which the normal value exceeds
        (i) the price at which the foreign like           the export price (or the constructed export
      product is first sold (or, in the absence of        price) of the subject merchandise.
      a sale, offered for sale) for consumption in        (3) Exportation from an intermediate country
      the exporting country, in the usual com-               Where the subject merchandise is exported
      mercial quantities and in the ordinary              to the United States from an intermediate
      course of trade and, to the extent prac-            country, normal value shall be determined in
      ticable, at the same level of trade as the          the intermediate country, except that normal
      export price or constructed export price,           value may be determined in the country of ori-
      or                                                  gin of the subject merchandise if—
        (ii) in a case to which subparagraph (C)               (A) the producer knew at the time of the
      applies, the price at which the foreign like           sale that the subject merchandise was des-
      product is so sold (or offered for sale) for           tined for exportation;
      consumption in a country other than the                  (B) the subject merchandise is merely
      exporting country or the United States,                transshipped through the intermediate coun-
      if—                                                    try;
           (I) such price is representative,                   (C) sales of the foreign like product in the
           (II) the aggregate quantity (or, if quan-         intermediate country do not satisfy the con-
        tity is not appropriate, value) of the for-          ditions of paragraph (1)(C); or
        eign like product sold by the exporter or              (D) the foreign like product is not pro-
        producer in such other country is 5 per-             duced in the intermediate country.
        cent or more of the aggregate quantity            (4) Use of constructed value
        (or value) of the subject merchandise
                                                             If the administering authority determines
        sold in the United States or for export to
                                                          that the normal value of the subject merchan-
        the United States, and
                                                          dise cannot be determined under paragraph
           (III) the administering authority does
                                                          (1)(B)(i), then, notwithstanding paragraph
        not determine that the particular mar-
                                                          (1)(B)(ii), the normal value of the subject mer-
        ket situation prevents a proper compari-
                                                          chandise may be the constructed value of that
        son with the export price or constructed
                                                          merchandise, as determined under subsection
        export price.
                                                          (e).
    (C) Third country sales
                                                          (5) Indirect sales or offers for sale
      This subparagraph applies when—
                                                             If the foreign like product is sold or, in the
        (i) the foreign like product is not sold (or
                                                          absence of sales, offered for sale through an af-
      offered for sale) for consumption in the ex-
                                                          filiated party, the prices at which the foreign
      porting country as described in subpara-
                                                          like product is sold (or offered for sale) by
      graph (B)(i),
        (ii) the administering authority deter-           such affiliated party may be used in deter-
      mines that the aggregate quantity (or, if           mining normal value.
      quantity is not appropriate, value) of the          (6) Adjustments
      foreign like product sold in the exporting             The price described in paragraph (1)(B) shall
      country is insufficient to permit a proper          be—
      comparison with the sales of the subject                 (A) increased by the cost of all containers
      merchandise to the United States, or                   and coverings and all other costs, charges,
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(d) Special rule for certain multinational cor-           view for selling, general, and administrative
    porations                                             expenses, and for profits, in connection with
  Whenever, in the course of an investigation             the production and sale, for consumption in
under this subtitle, the administering authority          the foreign country, of merchandise that is
determines that—                                          in the same general category of products as
    (1) subject merchandise exported to the               the subject merchandise,
  United States is being produced in facilities             (ii) the weighted average of the actual
  which are owned or controlled, directly or in-          amounts incurred and realized by exporters
  directly, by a person, firm, or corporation             or producers that are subject to the inves-
  which also owns or controls, directly or indi-          tigation or review (other than the exporter
  rectly, other facilities for the production of          or producer described in clause (i)) for sell-
  the foreign like product which are located in           ing, general, and administrative expenses,
  another country or countries,                           and for profits, in connection with the pro-
    (2) subsection (a)(1)(C) applies, and                 duction and sale of a foreign like product, in
    (3) the normal value of the foreign like prod-        the ordinary course of trade, for consump-
  uct produced in one or more of the facilities           tion in the foreign country, or
  outside the exporting country is higher than              (iii) the amounts incurred and realized for
  the normal value of the foreign like product            selling, general, and administrative ex-
  produced in the facilities located in the ex-           penses, and for profits, based on any other
  porting country,                                        reasonable method, except that the amount
                                                          allowed for profit may not exceed the
it shall determine the normal value of the sub-
                                                          amount normally realized by exporters or
ject merchandise by reference to the normal
                                                          producers (other than the exporter or pro-
value at which the foreign like product is sold in
                                                          ducer described in clause (i)) in connection
substantial quantities from one or more facili-
                                                          with the sale, for consumption in the foreign
ties outside the exporting country. The admin-
                                                          country, of merchandise that is in the same
istering authority, in making any determina-
                                                          general category of products as the subject
tion under this paragraph, shall make adjust-
                                                          merchandise; and
ments for the difference between the cost of pro-
duction (including taxes, labor, materials, and          (3) the cost of all containers and coverings of
overhead) of the foreign like product produced         whatever nature, and all other expenses inci-
in facilities outside the exporting country and        dental to placing the subject merchandise in
costs of production of the foreign like product        condition packed ready for shipment to the
produced in facilities in the exporting country,       United States.
if such differences are demonstrated to its satis-   For purposes of paragraph (1), if a particular
faction. For purposes of this subsection, in de-     market situation exists such that the cost of
termining the normal value of the foreign like       materials and fabrication or other processing of
product produced in a country outside of the ex-     any kind does not accurately reflect the cost of
porting country, the administering authority         production in the ordinary course of trade, the
shall determine its price at the time of expor-      administering authority may use another cal-
tation from the exporting country and shall          culation methodology under this part or any
make any adjustments required by subsection          other calculation methodology. For purposes of
(a) for the cost of all containers and coverings     paragraph (1), the cost of materials shall be de-
and all other costs, charges, and expenses inci-     termined without regard to any internal tax in
dent to placing the merchandise in condition         the exporting country imposed on such mate-
packed ready for shipment to the United States       rials or their disposition that is remitted or re-
by reference to such costs in the exporting coun-    funded upon exportation of the subject merchan-
try.                                                 dise produced from such materials.
(e) Constructed value                                (f) Special rules for calculation of cost of produc-
   For purposes of this subtitle, the constructed         tion and for calculation of constructed value
value of imported merchandise shall be an               For purposes of subsections (b) and (e).— 1
amount equal to the sum of—                             (1) Costs
     (1) the cost of materials and fabrication or
   other processing of any kind employed in pro-          (A) In general
   ducing the merchandise, during a period which            Costs shall normally be calculated based
   would ordinarily permit the production of the          on the records of the exporter or producer of
   merchandise in the ordinary course of trade;           the merchandise, if such records are kept in
     (2)(A) the actual amounts incurred and real-         accordance with the generally accepted ac-
   ized by the specific exporter or producer being        counting principles of the exporting country
   examined in the investigation or review for            (or the producing country, where appro-
   selling, general, and administrative expenses,         priate) and reasonably reflect the costs asso-
   and for profits, in connection with the produc-        ciated with the production and sale of the
   tion and sale of a foreign like product, in the        merchandise. The administering authority
   ordinary course of trade, for consumption in           shall consider all available evidence on the
   the foreign country, or                                proper allocation of costs, including that
     (B) if actual data are not available with re-        which is made available by the exporter or
   spect to the amounts described in subpara-             producer on a timely basis, if such alloca-
   graph (A), then—                                       tions have been historically used by the ex-
       (i) the actual amounts incurred and real-
     ized by the specific exporter or producer         1 So in original. The period preceding the dash probably should

     being examined in the investigation or re-      not appear.
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   porter or producer, in particular for estab-        have been if the transaction had occurred be-
   lishing appropriate amortization and depre-         tween persons who are not affiliated.
   ciation periods, and allowances for capital         (3) Major input rule
   expenditures and other development costs.
                                                          If, in the case of a transaction between af-
   (B) Nonrecurring costs                              filiated persons involving the production by
     Costs shall be adjusted appropriately for         one of such persons of a major input to the
   those nonrecurring costs that benefit cur-          merchandise, the administering authority has
   rent or future production, or both.                 reasonable grounds to believe or suspect that
   (C) Startup costs                                   an amount represented as the value of such
                                                       input is less than the cost of production of
     (i) In general                                    such input, then the administering authority
        Costs shall be adjusted appropriately for      may determine the value of the major input
     circumstances in which costs incurred dur-        on the basis of the information available re-
     ing the time period covered by the inves-         garding such cost of production, if such cost is
     tigation or review are affected by startup        greater than the amount that would be deter-
     operations.                                       mined for such input under paragraph (2).
     (ii) Startup operations                         (June 17, 1930, ch. 497, title VII, § 773, as added
        Adjustments shall be made for startup        Pub. L. 96–39, title I, § 101, July 26, 1979, 93 Stat.
     operations only where—                          182; amended Pub. L. 98–573, title VI, §§ 615,
          (I) a producer is using new production     620(b), Oct. 30, 1984, 98 Stat. 3036, 3039; Pub. L.
        facilities or producing a new product        99–514, title XVIII, § 1886(a)(11), Oct. 22, 1986, 100
        that requires substantial additional in-     Stat. 2922; Pub. L. 100–418, title I, §§ 1316(a), 1318,
        vestment, and                                1319, Aug. 23, 1988, 102 Stat. 1186, 1189; Pub. L.
          (II) production levels are limited by      103–465, title II, § 224, Dec. 8, 1994, 108 Stat. 4878;
        technical factors associated with the ini-   Pub. L. 114–27, title V, §§ 504(b), (c), 505, June 29,
        tial phase of commercial production.         2015, 129 Stat. 385.)
     For purposes of subclause (II), the initial                          Editorial Notes
     phase of commercial production ends at
     the end of the startup period. In deter-                              AMENDMENTS
     mining whether commercial production              2015—Subsec. (a)(1)(B)(ii)(III). Pub. L. 114–27, § 504(b),
     levels have been achieved, the admin-           which directed amendment of subcl. (III) by striking
     istering authority shall consider factors       out ‘‘in such other country.’’, was executed by striking
     unrelated to startup operations that might      out ‘‘in such other country’’ after ‘‘particular market
                                                     situation’’ to reflect the probable intent of Congress.
     affect the volume of production processed,
                                                       Subsec. (b)(2)(A). Pub. L. 114–27, § 505(a), added subpar.
     such as demand, seasonality, or business        (A) and struck out former subpar. (A). Prior to amend-
     cycles.                                         ment, text read as follows: ‘‘There are reasonable
     (iii) Adjustment for startup operations         grounds to believe or suspect that sales of the foreign
                                                     like product were made at prices that are less than the
        The adjustment for startup operations        cost of production of the product, if—
     shall be made by substituting the unit pro-         ‘‘(i) in an investigation initiated under section
     duction costs incurred with respect to the        1673a of this title or a review conducted under section
     merchandise at the end of the startup pe-         1675 of this title, an interested party described in sub-
     riod for the unit production costs incurred       paragraph (C), (D), (E), (F), or (G) of section 1677(9) of
     during the startup period. If the startup         this title provides information, based upon observed
     period extends beyond the period of the in-       prices or constructed prices or costs, that sales of the
                                                       foreign like product under consideration for the de-
     vestigation or review under this subtitle,
                                                       termination of normal value have been made at
     the administering authority shall use the         prices which represent less than the cost of produc-
     most recent cost of production data that it       tion of the product; or
     reasonably can obtain, analyze, and verify          ‘‘(ii) in a review conducted under section 1675 of
     without delaying the timely completion of         this title involving a specific exporter, the admin-
     the investigation or review. For purposes         istering authority disregarded some or all of the ex-
     of this subparagraph, the startup period          porter’s sales pursuant to paragraph (1) in the inves-
     ends at the point at which the level of           tigation or if a review has been completed, in the
                                                       most recently completed review.’’
     commercial production that is char-
                                                       Subsec. (c)(5). Pub. L. 114–27, § 505(b), added par. (5).
     acteristic of the merchandise, producer, or       Subsec. (e). Pub. L. 114–27, § 504(c)(2), in concluding
     industry concerned is achieved.                 provisions, substituted ‘‘For purposes of paragraph (1),
 (2) Transactions disregarded                        if a particular market situation exists such that the
                                                     cost of materials and fabrication or other processing of
   A transaction directly or indirectly between      any kind does not accurately reflect the cost of produc-
 affiliated persons may be disregarded if, in the    tion in the ordinary course of trade, the administering
 case of any element of value required to be         authority may use another calculation methodology
 considered, the amount representing that ele-       under this part or any other calculation methodology.
 ment does not fairly reflect the amount usu-        For purposes of paragraph (1), the cost of materials
 ally reflected in sales of merchandise under        shall be determined without regard to any internal tax
 consideration in the market under consider-         in the exporting country imposed on such materials or
                                                     their disposition that is remitted or refunded upon ex-
 ation. If a transaction is disregarded under the    portation of the subject merchandise produced from
 preceding sentence and no other transactions        such materials.’’ for ‘‘For purposes of paragraph (1), the
 are available for consideration, the determina-     cost of materials shall be determined without regard to
 tion of the amount shall be based on the infor-     any internal tax in the exporting country imposed on
 mation available as to what the amount would        such materials or their disposition which are remitted
